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GREGORY LONGINO on 01/18/2023

1 UNITED STATES DISTRICT COURT
2 EASTERN DISTRICT OF LOUISIANA
3
4 AHMED BAOER, ET AL. NO. 2:20-cv-00980-WBV-DPC
5 DISTRICT JUDGE:
6 WENDY B. VITTER
7 VERSUS SECTION "D"
8 MAGISTRATE JUDGE:
9 DONNA PHILLIPS CURRAULT
10 ST. TAMMANY PARISH SECTION "2"

11 GOVERNMENT, ET AL.

15 VIDEOTAPED DEPOSITION OF GREGORY CHARLES

16 LONGINO, 10510 LEE SETTLEMENT ROAD, FOLSOM,

L7 LOUISIANA 70437, taken at the LAW OFFICES OF

18 MILLING BENSON WOODWARD, LLP, 68031 CAPITAL TRACE
LS ROW, MANDEVILLE, LOUISIANA 70471, in the

20 above-entitled cause on the 18th day of January,

21 2023.

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1 APPEARANCES: 4 | N D E x

; 2 PAGE:

3 JACOB LITIGATION, INC. 3 Caption 4

4 BY: DEVON M. JACOB, ESQ. 4 Appearances 2, 3

. BO. BOK 837 5 Agreement of Counsel §

6 MECHANICSBURG, PENNSYLVANIA °17055-0837 6 Witness’ Certificate 161

MN ae eee 7 Reporter's Certificate 162

8 djacob®jacoblitigation.com 8

9 ATTORNEY REPRESENTING PLAINTIFFS 9 E x A M | N A T | O N
x 10 BY: PAGE:
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12 ROMANUCCI & BLANDIN, LLC 12 Mr. Jacob 6, 154
13 BY: SAM A. HARTON, ESQ. 13 Ms. Harton 148
“ 322, Ne CLARK STREET 14 Mr. Collings 151
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7 22
33 23 REPORTED BY:
ae 24 ANNA M. ROTH, RPR, CCR
*s 25 CERTIFIED COURT REPORTER

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1 APPEARANCES: (Continued) 4 STIPULATION

: 2‘ ITIS HEREBY STIPULATED AND AGREED by and
3 MILEING BENSON WOCDPARD,, TEP 3 among counsel for the parties hereto that the

4 Bus CHADHZCE Wi \COLUTHGS, “ESQ: 4 videotaped deposition of the aforementioned

5 Oh0S2 CARINE TRACE RON 5 witness is hereby being taken under the Federal
: Ce Re 6 Rules of Civil Procedure, for trial purposes, in

? A985): 28452008 7 accordance with law;

8 Coon id tngsent Ling layicom 8 That the formalities of sealing,

$ ATRORNEN RERRESENTING. BEFRNGRNS 9 certification, and filing are specifically
10 ST. TAMMANY PARISH SHERIFF'S OFFICE 10 waived;
te 11 That the formality of reading and signing
i 12. is specifically not waived;
a 13 That all objections, save those as to form
a 14 of the question and the responsiveness of the
a8 15 answer, are hereby reserved until such time as
ne 16 this deposition, or any part thereof, may be used
a 17 or sought to be used in evidence.
16 18 «ee *
x3 19 ANNA M. ROTH, Certified Court Reporter, in
29 20 and for the Parish of St. Tammany, State of
a 21 Louisiana, officiated in administering the oath
22 22 to the witness.
23 23
24 24
25 25

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6..9
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1 GREGORY CHARLES LONGINO, 10510 LEE 1 question. | didn't work for the sheriff's
2 SETTLEMENT ROAD, FOLSOM, LOUISIANA 70437, after| 2 office. Sol need to go to the people who have
3 having first been duly sworn by the 3 and do to get the factual information that I at
4 above-mentioned Court Reporter, did testify as 4 least think I need in order to litigate the case.
5 follows: 5 Okay?
6 EXAMINATION BY MR, JACOB: 6 So if you need a break at any time,
7 Q. Ikeep mispronouncing your name to 7 by all means, just let me know. I'll be happy to
8 others, and | apologize. Is it long Longino or 8 accommodate. You don't even have to tell me why.
9 Longino? 9 You can just simply just need a break from
10 A. Longino. 10 listening to me. And that's fine, too. I just
44 Q. Longino. All right. | had it 11 askifthere's a question pending, that you just
12 completely wrong either way. Longino. Okay. 12 answer that question before we take the break.
13 Fair enough. 13 Okay?
14 A. Most people in Louisiana say, 14 A. Okay.
15 “Longino.” But I'm from Mississippi. It's 15 Q. The court reporter has two hands,
16 Longino. 16 but it's not one for you, one for me. So I'm
17 Q. Longino. Okay. Very good. Mr. 17 going to do my best to let you finish your
18 Longino, is that okay? 18 answers before | start my next question. But I'm
19 A. (Shrugs.) 19 going to ask that you do the same to the extent
20 Q. Allright. Sounds good. Mr. 20 that even if you can guess where I'm going, just
21 Longino, we met a second ago, but I'm Devon 21 do your best to let me get the rest of the
22 Jacob. | represent the plaintiffs in the 22 question out so we can get it down on the record
23 litigation that you're here to have a deposition 23 before you begin your answer. Okay?
24 in respect to. And same with my co-counsel, Sam 24 A. Okay.
25 Harton. 25 Q. And if at any point in time you just
Page 7 Page 9
4 MR. JACOB: 1 don't understand something | say, it could be |
2 Harton? | always mispronounce your 2 misused a term of art, or maybe there's just a
3 name, too. I'm sorry. 3 common lingo at your office that is used, just
4 MS. HARTON: 4 let me know. I'll be more than happy to clarity,
5 People like Horton, but it's Harton. 5 restate, whatever you need to understand what it
6 MR. JACOB: 6 is that | want before you answer the question.
7 Oh, gosh. 7 Okay?
8 BY MR. JACOB: 8 A. Okay.
9 Q. I'mterrible with names, as you can 9 Q. And you're doing a great job
10 tell. 10 verbalizing your answers. You get it. Again,
11 In any case, the purpose of a 11 for the transcript, things like “uh-huh,”
12 deposition -- 1 don't know, have you ever given |12 "“uh-uh," they're impossible later to figure out
13 one before? 13 what someone meant by that. So, again, “yes,”
14 A. Yes. 14 "no," "I don't know," whatever the answer is, but
15 Q. Okay. And do you know, was that in 15 do your best to use words and verbalize that.
16 the capacity of a civil case or a criminal case? | 16 Okay?
17 A. Civil case, criminal case, all of 17 A. Yes, sir.
18 them. 18 Q. Allright. I'm not here to ask you
19 Q. All right. 19 to speculate or guess. If you don't know
20 A. Civil case more so. 20 something, that is perfectly fine. I'm not going
21 Q. Fair enough. Fair enough. So then 21 = to think that you're playing games with me or
22 you have a general idea of how this works. It's | 22 tricking me or trying to withhold information.
23 a question-answer procedure. It's not a time for | 23 Just let me know you don't know, and, again,
24 me to play games or trick you or anything. It's | 24 we'll just move on to the next topic. Because |
25 just simply, | wasn't there for the events in 25 think your attorney, I'm sure, has already told
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1 you we're making a record here today, but we only| 1 bring us to a long-term — appreciate our

2 want actual, you know, information. It's not an, 2 long-term goals more so than the daily

3 "Oh, my gosh, I have to have an answer," kind of | 3 operations. So | would be out ahead of what

4 exercise. Okay? 4 we're doing at the jail, for vehicle maintenance,

5 A. Yes, sir. 5 or for building maintenance, trying to make sure

6 Q. Allright. Is there any reason that 6 that we didn't get behind times.

7 you wouldn't be able to answer truthfully 7 Q. And when you say building

8 questions here today? 8 maintenance for the future, did that encompass
9 A. No, sir. 9 the present, meaning were you also in charge of
10 Q. No medication or medical condition 10 the facility and the maintenance of that facility
11 that would prevent you from doing so? 11. in the present?

12 A. No. 12 A. Yes.

13 Q. Okay. So with that in mind — do 13 Q. But I'm understanding you to say but
14 you need -- oh, you got water. Okay. I was 14 also to plan for the future?

15 going to say, feel free, you know. I'm going to 15 A. Yes.

16 drink my coffee, too. So if you want coffee, I'm 16 Q. And what -- you said something about
17 sure we can get that for you. Just let us know. 17 to be able to obtain the future goals. What were
18 A. Yes. 18 the future goals in ‘19 that you were working on
19 Q. Okay. So this lawsuit stems for the 19 for the future with respect to the building

20 period of time 2019, 2020. And 1, again, realize 20 itself?

21. it's 2023 now, unbelievably. So there's been a 21 A. With buildings, well, | was in

22 passage of time. So, again, if you don't 22 charge of all the buildings at the sheriffs

23 immediately recall something, let me know. But | 23 office. So maintenance, for vehicle maintenance,
24 I'm going to ask if later in the deposition, as 24 for instance, having a long-term vehicle. So

25 we're discussing things, suddenly it comes back | 25 like | had a five- to ten-year plan of which

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1 to the forefront, again, I'm not going to think 1 vehicles would go in and out of rotation if the

2 that you are playing games with me, just let me 2 circumstances remained perfect.

3 know, and I'll let you clarify, you know, add to, 3 Q. Right.

4 supplement any of your answers at any time. 4 A. But if the circumstances -- | had

5 Okay? 5 like a five-year retention plan. | needed to see

6 A. Okay. 6 what equipment throughout the agency, generators,

7 Q. Allright. During 2019, 2020, you 7 the big ticket items, towers that needed to be

8 were employed by the sheriff's office? 8 worked on and/or replaced, or end-of-life issues

9 A. 2019. Not 2020. 9 that would come up, meaning that product may not

10 Q. 2019. Not "207 10 no longer be in service or be able to maintain

14 A. Not '20. 11 it, so need a new one.

12 Q. Okay. And in what capacity were you 12 And for the jail, just continually

13 employed in 2019? 13. training staff to make sure that they are

14 A. |was employed as a deputy chief of 14 prepared to carry out the goals of the

15 corrections, of building maintenance, and of 15 corrections division.

16 vehicle maintenance. So | was part of the 16 Q. Okay. With respect to building

17 executive staff. 17 maintenance, what was the long-term plan or goals
18 Q. Okay. And so what were your 18 that you were working on?

19 respective duties? | can kind of guess from what | 19 A. Well, some of them were to improve

20 you just said. But what essentially were your 20 the building, the jail, perse. But that was a

21 responsibilities in that capacity? 21 plan that | had that we had to submit to the

22 A. | was, in that capacity, | managed, 22 parish. They had to fund it or not. So | didn't

23 through the warden, the jail; through the major, 23 have complete control to say, "This is what

24 the vehicle maintenance; and through a major, our | 24 happens." | can say, "This is what | think needs

25 building maintenance department. | was there to 25 tohappen." But the parish would have to fund
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1 that as far as the building is concerned for the 1 were you supervising the employees, the

2 jail. 2 corrections officers on a day-to-day basis?

3 Q. Okay. With respect to the jail, 3 A. No, sir.

4 maintenance and future plans for the building, | 4 Q. But I'm hearing you also say you

5 heard you mention the parish government itself --| 5 were at least trying to help with the scheduling
6 A. Yes. 6 issue or the manpower issue as it pertained to
7 Q. --needs to fund the projects, 7 overtime?

8 correct? 8 A. Yeah. That's budgetary. That's not

9 A. Yes. 9 day-to-day operations. | wasn't over there

10 Q. Can you explain a little bit about 10 saying, "Do this. Do that." That was for the

11 the dynamics then between your role and the 11 warden, the captains, the lieutenants to try to

12 sheriff and your role and parish government? 12 maintain or manage that particular item. | had

13 A. Well, my role was with the sheriff's 13 to keep it in my sight for budgetary reasons, not
14 office to say this is what -- the big ticket 14 just day-to-day operations.

15 items we need at the jail, present them to the 15 Q. So is it fair to say, then, there's

16 sheriff so he can present them in the budget, and 16 the corrections security path, and then there's
17 hecan ask for the money from the parish 17 the administrative business path and that you
18 government. If they gave it, we did it. If they 18 were on the business side?

19 didn't, well, of course, we didn't. 19 A. No. | was over maintaining the

20 Q. Did the sheriff ever tell you what 20 whole entire jail.

21 his goals were that he wanted you to focus on or | 21 Q. So you were overseeing both then?
22 that he wanted you to try to achieve in what you | 22 A. Yeah.

23 were doing? 23 Q. Okay. Soin the hierarchy, can you
24 A. Nota sit-down and say, "Here's -- 24 explain where you fell with respect to the

25 here's where | want you to go," no. 25 sheriff?

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1 Q. Meaning, and let me ask you a little 1 A. |was next to the sheriff. It was

2. bit differently, did the sheriff ever have a 2 the sheriff -- at the time, it was the sheriff,

3 conversation with you, “Listen, this yearl want | 3 the deputy chief, major, captains, lieutenant,

4 you to focus on just upgrading the current 4 sergeants. | was in between the sheriff and the

5 facility that we have," or, “This year | want you 5 major. Or the warden.

6 to focus on how we're going to build a new jail," | 6 Q. I'msorry. | cut you off. Go

7 or, "This year | want you to focus on how to 7 ahead.

8 build a new wing," anything like that? 8 A. Orthe warden. The major is the

9 A. No. Basically, if we had those 9 warden.

10 conversations, it was more about overtime. 10 Q. Ah. Okay. So you were above the

11 Q. Overtime? 11 warden?

12 A. Yeah. 12 A. Yes.

13 Q. Okay. Explain. 13 Q. And then above you is the sheriff?

14 A. Maintaining the overtime and getting 14 A. Yes.

15 the overtime down from where we were last year, | 15 Q. And just so -- so directly below you
16 try to manage that better and better to save for 16 is the warden?

17 the general fund. 17 A. Yes.

18 Q. Okay. So you talked about being in 18 Q. Anybody to the side of you, so to

19 charge of the building maintenance and future |19 speak? Anybody else that is at your level?

20 aspects of the building, about the car fleet, for | 20 A. Yes. But they were -- | was a

21 lack of a better term. Now you're mentioning 21 deputy chief of corrections, building

22 overtime. Were there other responsibilities that |22 maintenance, and fleet maintenance. | also had a
23 you had with respect to your position then? 23 deputy chief of criminal patrol, SOD. You also

24 A. What type of responsibility? 24 had a deputy chief of finance administration.

25 Q. Well, like, | guess my question is, 25 That was the deputy chiefs at the time. So we
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1 were on the line together, but we didn't have the 1 This budget year, a new roof or anything that's
2 same duties or responsibilities. | was the only 2 maintained, that would be submitted in the
3 one there for — 3 budget, along with the justification and the plan
4 Q. So you handled corrections, somebody 4 to implement if the budget was approved, and we
5 else handled patrol and law enforcement, somebody | 5 got that funding.
6 else handled business, for lack of a better term? 6 Q. And in that document, would it
7 A. Yes. 7 identify issues with respect to jail operations
8 Q. Allright. And so is it fair to say 8 that needed to be corrected to comply with, you
9 that the sheriff's position is more of a 9 know, state or federal regulations?
10 political position than a day-to-day like 10 A. In some instances, yes. When we had
11 CEO-type position? 11 standards changed through Department of
12 MR. COLLINGS: 12 Corrections, we had to do things differently or
13 Object to the form. 13 buy equipment or things of that nature. So,
14 THE WITNESS: 14 yeah, we had to maintain compliance with
15 | can answer? 15 standards.
16 BY MR. JACOB: 16 Q. And in that respect, you're
17 Q. Yes. 17 mentioning standards, what standards did the jail
18 A. Allright. So - well, the sheriff 18 -- was the jail obligated to comply with?
19 is an elected official. He is a politician. But 19 A. The jail was obligated to comply
20 he is also the -- he's the chief operating 20 with?
21 = officer/executive officer of the agency, so -- 21 Q. Yes.
22 Q. And was he completely relying on 22 A. _ If it pertained to the jail,
23 you, though, to explain to him what needed to 23 especially poor detention standards from the
24 happen in order to operate and run the 24 feds, federal government, because we house
25 corrections side of the business correctly? 25 federal inmates, any standards that we house for
Page 19 Page 21
1 A. No, not exactly. But! can say that 1 immigrations and Department of Corrections and/or
2 about every two weeks we had a meeting, whether| 2  pretrials.
3 that was a CompStat meeting, as we call it, where | 3 Q. Is it fair to say that, for
4 we brought ideas, problems, or things that we 4 instance, the federal standards, that the only
5 needed to handle at the jail or throughout the 5 reason the parish jail would need to comply with
6 agency. He was present in those. We also had 6 the federal standards was because it housed
7 executive staff meetings where things was brought | 7 federal inmates?
8 out. But that was in line with when we went to 8 A. Not necessarily.
9 budgeting and we set what our goals were for this | 9 Q. Okay. Could you explain that to me?
10 year, that was what we need to stay on track 10 A. Yeah. When we say the federal,
11 with. 11 there's still standards out there that we would
12 Q. Was there any document or long-term | 12 have to maintain even though we don't house.
13 plan or something that laid out the goals for 13 Some of them are through the jail -- the
14 your division? 14 Department of Corrections with their jail
15 A. Yes. And you could find it in our 15 standards. We have those as well. So we would
16 budget document. 16 maintain the standards across the board.
17 Q. Ina budget document? 17 Q. And is that because there is just an
18 A. Yes. 18 understanding in corrections that there's a
19 Q. Okay. And explain to me, because 19 certain standard in the industry itself by which
20 different agencies have different types of 20 jails are to operate?
21 documents, what would this budget document | 21 A. Yeah. Operate and inspected by and
22 contain by way of information? 22 evaluated by, yes.
23 A. By way of information for the jail, 23 Q. So would it be fair to say, then,
24 perse, like, well, you're asking about the 24 that there are certain inspections that, of
25 building, what we would need for this building. 25 course, you had to meet certain standards? It

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might be Department of Health or Department of
Corrections. But that there is also just an
understanding in corrections that jails are
normally going to operate at least at a minimum
level of what the DOC says or what the federal
government says?

A. Yes.

Q. Okay. So it's not just -- or there
is an understanding in the industry then, and at
St. Tammany Parish, that even if we aren't
necessarily required by law to do "X," it's
understood in the industry that you're going to
at least meet this level of operation?

A. | can't speak to the industry, but |
can speak to the St. Tammany Parish Jail. We
house DOC offenders, and we knew that once a year
we would get inspected. So, yeah, you had to
maintain those standards throughout the year. We
knew that we would get inspected by immigrations.

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question. | mean, if you didn't have the feds
and didn't have the DOC, you also wouldn't need
that additional manpower, correct?

A. [would not need that additional
manpower nor would | have the additional jail
space.

Q. Okay. You wouldn't have the
additional jail space for the DOC or the federal?

A. The pretrials.

Q. For the pretrials?

A. If! got rid of the federal inmate
and the DOC inmate and the immigration inmate,
I'm only left with the pretrial inmates.

Q. Okay. But the same building,
correct?

A. No.

Q. Why is that? Explain that to me.

A. Okay. So if we went and the feds
were gone, they lived in a particular housing

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20 We had to maintain those standards that we had 20 unit all to themselves, and if they left, we
21 forimmigrations. We knew we would get inspected |21 would shut that particular building down because
22 by also the feds, the federal government, so we 22 you wouldn't have that revenue stream to keep it
23 had to maintain those as well. So when they came | 23 going. And you wouldn't have that revenue stream
24 in and inspected it, it was a set of criteria 24 to maintain or add pretrial beds either.
25 that they used to evaluate if we were housing 25 Q. Okay. So you would be left with the
Page 23 Page 25
{ their inmates properly. 1 same pretrial that you have now?
2 Q. So let me ask it a bit differently. 2 A. Yes.
3 A. Okay. 3 Q. Okay. I guess that's what I'm
4 Q. If you were not housing DOC inmates 4 getting at. So if you get rid of the DOC, you
5 and not housing federal inmates, would St. 5 get rid of the feds, you're left with what you
6 Tammany Parish still maintain the jail at the 6 got, pretrial and that part of the building?
7 same level? 7 A. Yes.
8 A. No, sir. 8 Q. Allright. Where did the -- |
9 Q. And why is that? 9 understand you said that the funds that came from
10 A. So as the -- we housed pretrials, we 10 the federal contracts -- excuse me -- the DOC
11 housed DOC, we housed federal inmates, and 11 contract, they were used to, | guess, maintain
12 immigrations. So the pretrials had a certain 12 those obligations, correct, to those respective
13 section of the jail that they stayed in. Feds 13 agencies; is that correct?
14 had a certain area of the jail they stayed in. 14 A. Yes.
15 But through the revenue streams from the federal 15 Q. What else were the funds used for?
16 government for feds and/or immigration inmates 16 A. They was used to operate the jail,
17 and DOC inmates, we was able to house and hire 17 like the overall facility.
18 more corrections officers. 18 Q. Okay. For instance, did -- were
19 Q. Okay. And guess it's sort of 19 those funds used to increase pay for your
20 circular, though. By housing more federal 20 employees?
21 inmates, by housing more DOC inmates, you also | 21 A. Not specifically.
22 need more manpower; is that correct? 22 Q. Okay.
23 A. They paid for the manpower that we 23 A. And | say that because that's a
24 used to house them. 24 whole different topic. Increasing pay for
25 Q. Okay. So -— but! guess that's my 25 deputies by just housing DOC or federal inmates,
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1 that would be -- that would be throughout the 1 A. Yeah. We would still be left with
2 agency. That would be through budgetary 2 the same amount of beds pretrial that you have
3 constraints or concerns that we could increase 3. versus — so when we would look at the buildings,
4 our budget. We wouldn't increase our budget and 4 you would see a building with state work -- well,
5 say, "We need to house more feds or more DOCs," | 5 I'll get into that if you want me to -- but the
6 you know. Ifthe sheriff said, "You get a 6 different type of buildings that we had to house
7 raise," we didn't increase federal inmates, we 7 the different type of inmates.
8 didn't increase DOC inmates, and we didn't lessen 8 Q. Okay. Were the buildings the same
9 pretrial inmates. 9 size?
10 Q. Okay. How were the pretrial -- or 10 A. No. No, they were not.
11 the care, custody, and control of the pretrial 11 Q. And are they separate buildings, or
12 inmates, how was that funded? 12 are they wings of buildings? | haven't been
13 A. We got some funding from the parish, 13 there.
14 and, like | say, through the revenue streams that 14 A. They are separate buildings.
15 we had, whether that was housing DO -- to balance | 15 Q. And so if you were to get rid of the
16 the budget, we had to house DOC inmates, federal |16 feds and the DOC, could you simply move the
17 inmates, immigrations. And the pretrials were -- 17 pretrials into a slightly -- one of the slightly
18 we got paid — | don't even know what we got paid 18 bigger buildings?
19 per year for housing them from the parish. But 19 A. No. That's why we had it like that.
20 you would get some funding from the parish but -- 20 SoC Building, B Building. A Building mostly
21 Q. Would it be fair to say that the DOC 21 housed your feds. B Building mostly housed your
22 and the federal government, they paid their way? | 22 DOCs. If those closed down, we no longer had the
23 A. The federal inmates certainly paid 23 federal funding, or we no longer had the DOC
24 their way. And the DOC, yes, | would say they 24 funding. | wouldn't increase pretrial beds. |
25 paid their way. 25 couldn't fund them.
Page 27 Page 29
1 Q. And then is it fair to say that with 1 Q. Okay. And so if you lost the DOC,
2 respect to pretrial detainees, the parish kind of 2 lost the feds, is it fair to say that you then
3 put the squeeze on? 3 could not properly fund the pretrial?
4 A. Well, you know, I'm no longer there, 4 A. No. The pretrial would stay where
5 but they're still not funded fully from the 5 they're at. That's what I'm saying. Like —
6 parish, the jail, for housing the pretrial 6 Q. No. No. No.
7 detainees. So | know when | was there, it wasn't 7 A. — we wouldn't add pretrial beds —
8 funded properly. So, you know, so -- 8 Q. Sorry.
9 Q. Okay. So you're left with a 9 A. -— to -ifwe lost the DOC, if we
10 situation where the pretrial detainees, it's an 10 lost the federal inmates, we wouldn't add or put
11 underfunded, not funded properly program, so to|11_ pretrials in those areas or add a pretrial count.
12 speak. So the sheriff is left in a quandary of 12 Q. Right. What I'm asking, though, is
13 having to find some way to pay for that, correct? |13 slightly different. Not whether --
14 A. Yes. And what he can't pay for by 14 A. Okay.
15 raising the revenue, he would have to find that 15 Q. Not whether you would add beds, but
16 revenue to pay for whatever is short. 16 rather would you be able to fund the pretrial as
17 Q. And so one way I'm hearing was these [17 it currently is without the DOC and the feds?
18 federal and DOC contracts provided a little 18 That's my question.
19 extra, at least, that helped to supplement the 19 A. Yes.
20 pretrial funding. Would that be a fair 20 Q. And how?
21 statement? 21 A. You would have to -- you can only
22 A. | would say jail funding, but it's 22 have enough pretrials where your staff can manage
23 not specifically for pretrials. 23 them. So if that means that the staff decreases,
24 Q. But without it, it undercut the 24 that means that the beds would decrease. You can
25 pretrial? Would that be fair? 25 only have enough beds where you can properly
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1 maintain the staffing to house that number of 1 come into compliance with those orders as well.
2 inmates. 2 So | can't say like if | was maxed
3 Q. Now, if you're in a situation where 3 out of the pretrial bed count that | wouldn't
4 you're in a funding squeeze, let's say, but 4 take more pretrial inmates. | don't have that
5 you're also getting these pretrial detainees to 5 authority to say, "Turn them away."
6 house, what do you do? Do you turn away pretrial} 6 Q. Okay. But you did just mention
7 detainees if you can't house them if there's no 7 something about petitioning the courts, for
8 space? 8 instance, --
9 A. Well, you can't technically turn 9 A. Yes.
10 away a pretrial inmate if they're legally 10 Q. -- onan overcrowding situation for
11 arrested and brought to your facility to be 11 some sort of emergency relief, correct?
12 booked into your facility. But you would have to 12 A. Uh-huh (affirmatively).
13 book them. You would have to process them and 13 Q. Did that ever happen that you're
14 give them the next available bed. So you can't 14 aware of?
15 arbitrarily say, "We're closed for business." 15 A. Yes.
16 Q. So what if you had a mass arrest 16 Q. And when did that happen?
17 situation? | mean, some of these cities have 17 A. To pinpoint dates and times and
18 them where, you know, they arrest a hundred or |18 ranges, | wouldn't be able to do that. But! do
19 200 people for an incident. You know, what do 19 know on occasion we have sat down -- | have
20 you do if you only have 30 beds on the pretrial 20 personally sat down with the commissioner and/or
21 side and four holding cells? What's the plan 21 the chief judge to say, "Hey, look, we're
22 there? 22 overcrowded. We need some relief," and that's as
23 A. The plan is when they bring the 23 far as | can go.
24 inmates to the facility as pretrial arrestees, we 24 Q. And then what --
25 would process them in. Once we get the legal 25 A. | can't go back and release them.
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1 documentation to house them, we would make sure | 1 Q. And then what happens, though? |
2 they got a bail set. Or if they can bond out. 2 mean, what's the result? What do they do in that
3 Or if they couldn't bond out, the bed space that 3 situation?
4 we have, we would use. We can't put them back on | 4 A. Sometimes they would release the
5 the street, you know. So you would have to take 5 appropriate number of inmates to be released.
6 those prisoners in. 6 But that would be on the commissioner or the
t And even if they had a mass arrest 7 judge to determine what and which ones they would
8 today, that would be the same scenario. You only 8 release. | had no authority to release them.
9 have so many pretrial beds that you can put the 9 Q. Understood. And, actually, and not
10 pretrial detainees in. So once they get there, 10 to parse words, though, but it wouldn't be your
11 they're booked in, they're housed accordingly, 11 authority anyway. It would be the sheriff,
12 that would be the holding cells, until the next 12 correct?
13 available bed was available. 13 A. Todo what?
14 Q. But what do you do? Is there a 14 Q. Torelease. The authority to
15 maximum number of pretrial inmates that can be| 15 release.
16 putin the holding cells? 16 A. As far as what?
17 A. There is a maximum number that the 17 Q. Well, you were saying, "I wouldn't
18 holding cells are designed to hold. But, like 18 have the authority to release them." Do you mean
19 you said, if there's a mass arrest, | can't say, 19 the sheriff wouldn't have the authority to
20 "I can't house them there or hold them." 20 release them?
21 Now, we would have to petition the 21 A. Yeah, | don't have -- yeah, no, he
22 commissioner or the judges to do an emergency 22 wouldn't have it either.
23 overcrowding-type deal. But I'm pretty sure in 23 Q. Okay. And, again, I'm just -- so
24 that scenario, the fire marshal would be there. 24 it's clear on the record, --
25 And health also would be there. We would have to | 25 A. He-
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1 Q. - what I'm saying is the sheriff's 1 to the sheriff, correct?
2 the policy maker. The sheriff's the final 2 A. Yes.
3 decision-maker, correct? 3 Q. Meaning the sheriff could -- I'm not
4 A. Absolutely. 4 saying he would, but I'm saying the sheriff could
5 Q. Allright. And, again, not to 5 say, "You know what, we have an overcrowding in
6 belittle your position. It's just to make sure 6 holding, so for the next week until we can
7 we're clear on the record of who's allowed to do | 7 alleviate this, I'm going to take five pretrial
8 what. 8 parish only inmates and put them in the -- in
9 A. Yes. 9 five of the available DOC beds"?
10 Q. That's all. 10 MR. COLLINGS:
11 So am | correct, though, the 11 Object to the form.
12 commissioners or the judge, they don't act until | 12 BY MR. JACOB:
13 there's a petition from the sheriff's office 13 Q. I'mnot saying he would. I'm just
14 saying that there's this problem? 14 saying he could?
15 A. No. The commissioner acts, and he's 15 A. | see a bigger problem there.
16 the one set the bonds. He's the one that does 16 Q. Well, can you first answer my
17 the 72-hour hearing. He's the one that sees how 17 question? Could he?
18 many we have there, and the people that are in 18 MR. COLLINGS:
19 holding, and he sets their bonds. So he's not — 19 Object to the form.
20 he's not there every day. But like he'll come 20 THE WITNESS:
21 fora 72-hour hearing. He'll come for — well, | 21 He could.
22 don't know what they do now since COVID. But, 22 BY MR. JACOB:
23 you know, at the time he would come and -- or | 23 Q. Okay. So there's nothing legally
24 would call and say, "We have a situation in 24 that precludes him from doing that?
25 holding where we're over capacity," and he would | 25 MR. COLLINGS:
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1 start working on it, you know. But that is 4 Object to the form.
2 strictly the -- we've only got one commissioner. 2 THE WITNESS:
3 But the commissioner and/or the judge, that was 3 Legally?
4 still left up — that was at their discretion to 4 BY MR. JACOB:
5 release an inmate. 5 Q. Yes. That you're aware of?
6 Q. But am | correct the commissioner 6 A. | guess you would have a
7 and the judge -- | mean, let me ask this 7 legally-binding contract with the feds and with
8 differently or that'll come out confusing. I'm 8 Department of Corrections, that if | said to
9 sorry. 9 them, "I'm going to house a hundred federal
10 The care, custody, and control of 10 inmates," | think they would legally expect me to
11 inmates in the parish, that authority resides 11 house them. But! don't know if you're talking
12 with the sheriff, correct? 12 about legal contracts or legal law.
13 A. Yes. 13 Q. Well, | guess what I'm saying is --
14 Q. And so if there's an overcrowding 14 sure. I mean, if you're -- if you have a
15 situation in the sheriff's jail, am | correct 15 contract with DOC to house a hundred but they're
16 that it is not addressed until the sheriff raises 16 not using a hundred, and the sheriff sees that
17 the issue or addresses the issue? 17 he's got a couple of extra beds over in DOC. I'm
18 A. No, not — no. 18 just asking, is there anything that you're aware
19 Q. Stated another way, the commission 19 of, any standard, any law, any regulation, that
20 and the judge, they're not going to impose onthe | 20 said you cannot use five of those beds for the
21 sheriff how he's to operate that jail? 21 next week to alleviate some overcrowding in the
22 A. No. 22 holding area?
23 Q. So, again, how the jail is operated, 23 A. Well, so just like you asked me
24 how many go into the holding cell, or how many go | 24 earlier about mass arrests, all right, so if |
25 into DOC beds or whatever, that is ultimately up 25 put those pretrials in those DOC beds and
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1 tomorrow DOC comes with their five to fill those 1 do with their extra five? They don't take them
2 beds, what do | do with the pretrial now? Do| 2 home to their houses. | mean, so do you know
3 put him back in holding? What do | do with him? 3 what they do?
4 Because now I'm really stuck because | gave hima| 4 A. They would find a facility that
5 bed. He's in a housing unit. He has a bed. He 5 would house them, I'm pretty sure. You got 64
6 has apillow. He has a mattress. Now do | take 6 parishes.
7 him out and put him on the floor or back in 7 Q. Is there any situation in the
8 holding? | think that creates a more — if | put 8 contract with DOC that you could simply turn away
9 aperson ina bed and they bring more DOC 9 DOC inmates?
10 prisoners, I've contracted with them to house 10 A. In what capacity?
11 that amount of prisoners. 11 Q. Just say, you know, they contracted
12 Q. But you also -- there's a contract 12 fora hundred, but, you know, we're having
13 with the parish to house the pretrials, correct? |13 staffing issues. We can only take 50 this month?
14 A. What do you mean? 14 A. Had that scenario presented itself
15 Q. Well, isn't there a pay or an amount 15 like that, you could —- you may have a housing
16 or -- that is sent over for each pretrial 16 unit that's down for repair. You know, you could
17 detainee that's housed? 17 decrease that count. You could only have 75 beds
18 A. You're talking about a per diem or 18 and move the inmates around until you finish the
19 -- 19 repairs and then call them back and say, "Hey,
20 Q. Yes. 20 look."
21 A. No. 21 But | think all of that is -- it
22 Q. Okay. Is there any other funding 22 wouldn't just happen like | decide today I'm
23 per inmate, per pretrial inmate? 23 going down to a hundred beds or down to 75 beds.
24 A. That funding is strictly received 24 | would give them enough time to respond. "Hey,
25 from the parish. What they give us. 25 look, we're going to be doing this or that,
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1 Q. Now, what happens if the DOC needs 1 maintaining or reconfiguring the housing unit.
2 - let's say you have a contract for a hundred, 2 I'm going to be absent those 25 beds," so -- and
3 but they have 105 to house. What happens? 3 give them a heads-up.
4 A. What do you mean? 4 But | don't think like - like |
5 Q. DOC comes to you and says, "We have 5 say, | don't see it being they come there and
6 acontract with you to house a hundred of our 6 say, "All right. | can't house them,” if | have
7 inmates, but we have 105 that need housing.” 7 the bed space that they have -- that we have
8 What happens? 8 contracted with them.
9 A. If they're in the DOC beds and 9 Q. Okay. But you've contracted them
10 they're full, we don't have the beds. 10 for a hundred. So why would it be okay to go to
11 Q. So what does DOC do? 11 them and say, "Well, we're going to take 75 for
12 A. Sol would think DOC would call 12 the next month because of this issue"?
13. first and say, — 13 A. If | have a legitimate reason, like
14 Q. Fair enough. 14 a housing unit down, or | got to repair something
15 A. -- "Allright. We see that you're 15 and inmates can't live in that unit, | wouldn't
16 full. Do you have any capacity to house on extra 16 keep them there and work around them.
17 five inmates?" 17 Q. I guess I'm confused because you
18 At that time, | would say, "No. 18 said, you know, "I have a contract. I can't give
19 You're full." Like, the DOC is full. 19 away those beds for other things because | have a
20 So | think they would -- | don't 20 contract." But you're also saying, “But if 1 had
21 think they would just show up at the door and 21 anissue that required it, | could tell them
22 say, "We've got five more inmates." 22 you're down to 75."
23 Q. But then -- and, | mean, I'm sure at 23 A. Yeah. But that wouldn't add any
24 the level you were operating, you then know what) 24 beds or take away from any other classification
25 DOC does. | mean, what do they --whatdothey | 25 of inmate.
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1 Q. So what's the difference if you tell 1 MR. COLLINGS:
2 the DOC, "We have overcrowding, so you're going | 2 Object to the form.
3. to be down to 75. We need to borrow 25 of your 3 THE WITNESS:
4 beds to alleviate a constitutional violation on 4 That's not correct, no. That's not
5 our side," as opposed to, "You're down to 75 beds | 5 correct.
6 because we are going to do some maintenance"? | 6 BY MR. JACOB:
7 What's the difference? 7 Q. Meaning if suddenly DOC came back,
8 MR. COLLINGS: 8 you could take those five and put them back in
9 Object to the form. 9 holding? You're no worse off, correct?
10 THE WITNESS: 10 A. Oh, | think | am.
11 | think the difference would be that 11 Q. Why?
12 they are using their beds. There's no 12 A. Because | would remove them from a
13 reason to remove the beds just to send 13 housing unit where they have a bed, where they
14 them back or get rid of the DOCs and put 14 have access to more than they have in holding, to
15 pretrials in there. It's not like they're 15 put them back in the holding cell. | think that
16 not going to need their beds back. That's 16 would be worse off than having them in holding
17 a short-term solution. Maybe a couple of 17 waiting for the next available bed.
18 days maybe. And you still have more 18 Q. So if somebody is going to be in
19 pretrials coming in. 19 holding for two weeks, you're saying it's better
20 BY MR. JACOB: 20 to stay in holding for two weeks instead of one
21 Q. Sure. So if you needed, you know, 21 week in the DOC bed with actual bedding and one
22 five of the 50 beds, let's say, for a short-term 22 week in holding? Is that what you're saying?
23 solution to a temporary overcrowding situation, | 23 A. Well, you're putting — | can't
24 that's not okay then to take those five beds from |24 determine how long somebody is going to be in
25 the DOC, but it is okay to take 25 beds from the 25 holding. | don't know if that person is going to
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1 DOC that are due to a short-term maintenance 41 come in and bond out tonight, tomorrow, or in
2 project or a short-term staffing issue to 2 three days. So | don't -- | don't think | can
3 alleviate that? 3. definitely say that I'm going to move these five
4 MR. COLLINGS: 4 people out of holding to that unit for five days.
5 Object to the form. 5 Q. Okay. But you could say, am |
6 THE WITNESS: 6 correct, we're going to use five beds, DOC beds,
7 The problem with that, | don't know 7 as pretrial beds. And those people who you put
8 what you mean by "temporary overcrowding." 8 in those beds in DOC could also bond right out
9 Once | give a person a bed, they have a 9 and never have stayed in holding; is that
10 bed. Like, if | take them out of holding 10 correct?
11 and put them in a housing unit, they're in 11 A. No. DOC doesn't bond out.
12 that housing unit. 12 Q. No. I'm saying the pretrials. If
13. BY MR. JACOB: 13 you just simply, you're overcrowded in holding,
14 Q. Until you move them? 14 so you put them right into those DOC beds
15 A. | can’t-- | can't move them back to 15 instead, and then they bond out, there
16 holding. 16 conceivably could be that situation; am |
17 Q. You can -- 17 correct?
18 A. Dol just keep putting more and more 18 A. No. Because | wouldn't put them in
19 as-— you know? 19 that housing unit.
20 Q. Butisn't more and more coming 20 Q. I'm saying if you did, they could
21 anyway? I mean, you can, you know, for five days | 21 conceivably -- you said, "I would have to put
22 alleviate -- you know, you could lower the count 22 them back into holding"?
23 in holding by five, or you could leave them there 23 A. Yeah.
24 and have five more in holding. I'm saying you 24 Q. Well, but what if they bonded out?
25 can move them anywhere you want; is that correct? | 25 Then they would go to the DOC bed and then bond
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1 out? 4 MR. COLLINGS:
2 A. Yes. 2 Object to the form.
3 Q. Okay. So, you know, basically, oa THE WITNESS:
4 there's speculation as to what the -- what 4 Yeah, that's possible. Yes.
5 problem may or may not happen should we put some| 5 BY MR. JACOB:
6 pretrial into DOC beds, correct? 6 Q. Well, no. Is that -- are we in
7 MR. COLLINGS: 7 agreement that ten minus five is five?
8 Object to the form. 8 A. That's not what you said.
9 THE WITNESS: 9 Q. Okay. Well, I'll do it again slowly
10 | think the whole thing is 10 here. We have ten here, right?
11 speculation. If! did or if | didn’t, 11 A. Uh-huh (affirmatively).
12 it's speculation. | don’t know what the 12 Q. Okay. Now these guys are walking
13 outcome would be. 13 down the hall, and they're walking in the door to
14. BY MR. JACOB: 14 DOC, --
15 Q. But one outcome we could be sure of 15 A. Uh-huh (affirmatively).
16 is that if five of the beds from DOC were taken 16 Q. --now how many do we have here
17 for five pretrials, we would have five less 17 (indicating)?
18 people in holding, correct? 18 A. You're just -
19 MR. COLLINGS: 19 Q. How many do we have here?
20 Object to the form. 20 A. You're just fixated on the ten.
21 THE WITNESS: 21 Q. How many do we have here?
22 You could, yes. 22 A. If only have ten in holding?
23 BY MR. JACOB: 23 Q. Yes.
24 Q. Well, you would. | mean, if you 24 A. | would have five and five.
25 literally took five out and put them in DOC, you 25 Q. Okay. Thank you.
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1 now have five less, right? 1 A. If Lonly have ten in holding.
2 MR. COLLINGS: 2 Q. Thank you. Thank you. At what
3 Object to the form. 3 point is there -- is there a threshold number
4 THE WITNESS: 4 where the sheriff petitions the commissioner or
5 Five less of what, though? 5 the judge on an overcrowding situation?
6 BY MR. JACOB: 6 A. I've never known there to be a
7 Q._ In holding. 7 threshold number, no.
8 A. So if| put those five in a housing 8 Q. What -- during the instances where
9 unit? 9 there was this petitioning, what triggered it?
10 Q. Correct. 10 What made the sheriff say, "Okay. This is --
11 A. But I'm still overcrowded by another 11 this is at a level that we need to file a
12 15. 12 petition"?
13 Q. Allright. Let me ask it this way. 13 A. We never filed a petition, per se,
14 A. We're speculating, right? 14 like paperwork to the court, if that's what
15 Q. Well, here. We're going to doa 15 you're asking.
16 math equation together here. 16 Q. Oh, I'm sorry. Those were your
17 A. Okay. 17 words. | assumed that's what it was.
18 Q. Let's say | have ten people ina 18 A. They would petition the court
19

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holding cell.

A. Okay.

Q. And Ihave five open beds. So
nobody here in DOC. And | take five of these
guys, and I walk them over to the DOC beds, and |
put them in here. Would you agree with me, | now
have five here and five here?

through, "Hey" -- we would call and talk to the
commissioner, tell him where we were at. It was

a process. We would call the commissioner, tell
him where we was at. "We're overcrowded.” If he
tells us, "I've done all | can do," we would then

go to the judge and say, "We have an overcrowding
problem. The commissioner has done all he can

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do. We need help from the court." So at that

time, they would either say, "Release some
prisoners," or not, so —-
Q. And so that would have to come from
the sheriffs side? You would have to tell the
commissioner, tell the judge, "We have an
overcrowding situation"?
A. Yes.
Q. Okay. And so if that never occurs,
if there's never, "Hey, Judge, hey, Commissioner,
we have an overcrowding situation,” then Judge
and Commissioner aren't going to act to fix the
overcrowding situation? Would that be correct?
A. Not necessarily correct. Because
the commissioners there are setting bonds daily,
doing 72-hour hearings twice a week. So he can
release what he sees fit. | don't —

Q. Right. But I'm saying, he's not
going to -- he's not going to suddenly sound off

—_ = =
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detainees every year, but we're only able to

house, you know, 'X' number, you know, in a safe,
lawful way. What are we going to do to fix
this"?

A. Am | aware of that happening? No.

Q. Yes. Do you know why that never did
happen?

A. No.

Q. What is the maximum number of
detainees that can be in any given holding cell?

A. For the male holding cells, it was
20 per unit, so 80 in the four.

Q. So 80 total?

A. Yes.

Q. Okay. 20 per holding cell?
A. Yes.

Q. We deposed yesterday a

representative from the sheriff's office who
admitted that those numbers were exceeded at

20 the alarm to himself and say, "We're 20 times. Is that your recollection?
21 overcrowded." He's going to wait until the jail 21 A. Yes.
22 says, “Hey, got a problem. You need to slow 22 Q. And when those numbers were
23 down," or -- 23 exceeded, what did you do in response to that
24 A. Speed up. 24 situation?
25 Q. --"We need to come up with some 25 A. It depends on what the warden told

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1 other situation.” Am| right? | mean, he's 1 me that was in the process. So sometimes that
2 going to -- unless he's told, he's just going to 2 you get a snapshot of the holding counts that
3 keep doing what he's doing? 3 morning, and you may already have several people
4 MR. COLLINGS: 4 that's bonding out or getting out in the next
§ Object to the form. 5 four or five hours. So you had to take all of
6 BY MR. JACOB: 6 that into consideration.
7 Q. Is that fair? 7 So, like, if a DWI guy is sitting in
8 A. Yes. 8 there, you know he's going to get a signature
9 Q. Okay. When these overcrowding 9 bond after his time period of being in holding,
10 situations occurred where there was a--I think |10 so he'll be gone today, or, you know. So you had
11 you called it a petition, I'm hearing, though, 11 to weigh everything. Just because that was the
12 more of a phone call meeting -- 12 number, doesn't mean that that's going to stay
13 A. Yeah. 13. the number. You may have already had some people
14 Q. -- with the commissioner and judge, 14 been released or scheduled for release that day
15 was there any recording of this, either in 15 where the holding count would be alleviated.
16 writing, like a letter, or a hearing ora 16 Q. What's the maximum number of
17 memorandum that discussed the issue and the |17 detainees that you recall in total being back in
18 solution? 18 holding?
19 A. No. 19 A. | wouldn't speculate. | don't know.
20 Q. Or just discuss the issue, | should 20 Q. I'm not asking you to speculate.
21 say, maybe not the solution? 21 A. Yeah.
22 A. No. 22 Q. But, surely, | mean, you would agree
23 Q. Meaning did the sheriff's office 23 with me, overcrowding Is a serious situation?
24 ever formally write to the parish government and | 24 A. Yes.
25 say, "Listen, you're sending us '"X" number of 25 Q. And so, presumably, in your

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1 capacity, realizing the seriousness of the 1. situation that was occurring periodically at St.
2 situation, surely you recall at least some 2 Tammany Jail?
3 numbers of inmates that gave you pause and 3 A. So you're -- it's been going on for
4 concern, correct? 4 quite atime.
5 A. Anything that was -- that we knew 5 Q. How long?
6 that couldn't get out, you know. If you had them 6 A. What's our time frame that we're
7 over 80 and you didn't see where that was being 7 talking about? Like --
8 alleviated through either the commissioner or 8 Q. The earliest date you remember.
9 people being released, yeah, we would have to get| 9 Earliest year you remember.
10 that down to the 80 number. 10 A. Sir, it's a periodic deal where it
11 Q. Do you ever recall a situation, 11 becomes overcrowded.
12 though, where you had 160 in holding? 12 Q. Allright. What's the earliest date
13 A. I don't, no. 13 you remember?
14 Q. Do you ever recall a situation where | 14 A. | couldn't give you a date.
15 you had a 150 in holding? 15 Q. What's the earliest year you
16 A. No. 16 remember?
17 Q. Do you recall a situation where you 17 A. Like I'm saying, it's been an
18 had 140 in holding? 18 ongoing issue.
19 A. No. 19 Q. Allright. So since you know it's
20 Q. Do you recall a situation where you 20 been ongoing, what's the earliest time you
21 had 130 in holding? 21 remember?
22 A. No. 22 A. We've been -- I've been at the jail
23 Q. Do you recall a situation where you 23 for along time. So --
24 had 120 in holding? 24 Q. Okay.
25 A. No. 25 A. --late'90s, early 2000s.
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1 Q. Do you recall a situation where you 1 Q. Okay. So this was -- by 2019, this
2 ever had over 80 in holding? 2 was not anew problem?
3 A. That happened at times, yes. 3 A. No.
4 Q. Okay. And what is the number that 4 Q. Correct?
5 you recall being the maximum amount between 80 5 A. Correct.
6 and 120 that you recall? 6 Q. Allright. And so what had been
7 A. | couldn't put a number on it. | 7 done since the 90s through 2019 to address the
8 don't -- | don't remember. 8 overcrowding situation?
9 Q. You just know that you were above 9 A. So since the '90s to 2019, the -- |
10 80, but you have no recollection ever of any high 10 worked under the former sheriff as well. At the
141 number saying, "I can't believe one time we even 11 time, to relieve overcrowding, we started what we
12 got up to 'X'"? 12 called a Code 6 Program.
13 A. No. 13 Q. All right.
14 Q. Okay. Despite the fact that you 14 A. So that was then shut down by the
15 were overseeing the entire jail? 15 courts to not do that.
16 A. | oversaw the jail through my major, 16 Q. What was the Code 6 Program?
17 yes. 17 A. The Code 6 Program is where we would
18 Q. Okay. So despite the fact that you 18 evaluate an inmate coming into our facility, and
19 oversaw the jail, you oversaw an overcrowding 19 in the event of overcrowding, we would give those
20 situation, you just have no recollection as to 20 names to the Code 6 office. They would do a
21 any maximum number or high number to tell me here | 21 list, and we would Code 6 them if the courts
22 today, correct? 22 didn't release them —
23 A. Correct. 23 Q. I'm not sure —
24 Q. Allright. When did you first 24 A. —- meaning --
25 become aware that there was this overcrowding 25 Q. Idon't understand Code 6.
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1 A. -- that sheriff -- that sheriff at 1 even address it or try to address it?
2 that time later found out we didn't have 2 A. Because it was an issue.
3 authority to release those inmates, so that 3 Q. What's the issue, though? | mean,
4 process was stopped. 4 what's the -- so what if it's overcrowded? |
5 Q. What is Code 6, just because | don't 5 mean, jails are supposed to be uncomfortable a
6 -- 6 bit, right?
t A. Code 6 is where -- it was created to 7 A. No.
8 do -- relieve our overcrowding in holding and/or | 8 Q. Allright. Well, then, what's the
9 throughout the jail. So a person would come to 9 --who cares if there's overcrowding?
10 jail. They would be processed by corrections 10 A. He cared.
11 staff, and they would also be looked at and given | 11 Q. But why?
12 ascore by the Code 6 office to say, "This 12 MR. COLLINGS:
13 person, if presented, we think should be 13 Object to the form.
14 released." But that would still go through -- 14 THE WITNESS:
15 well, we didn't have a commissioner at the time | 15 | don't know why.
16 -- but through the judges. And if they didn't 16 BY MR. JACOB:
17 release them at the time, the jail staff would 17 Q. Well, what's the -- do you see a
18 release them. 18 problem? I mean, you're clearly trained in
19 Q. Okay. How did that office come to 19 corrections, correct?
20 be named Code 6? 20 A. Yes.
21 A. It was a derivative of a Code 6 21 Q. I mean, you rose to a pretty high
22 office they had in Jefferson Parish. It wasn't 22 level in the sheriff's office, correct?
23 -- it wasn't -- that's what it was called. 23 A. Yes.
24 Q. I'msorry. | misunderstood. You 24 Q. And you wouldn't have done so unless
25 said off Jefferson Parish? 25 you were both experienced and educated to handle
Page 59 Page 61
1 A. Yeah. They had a program called 1 the position and the responsibilities that were
2 Code 6. We named ours Code 6. 2 provided to you, correct?
3 Q. Oh,I see. So - 3 A. Yes.
4 A. We didn't — 4 Q. Allright. So explain to me,
5 Q. --the neighboring jurisdiction had 5 because | don't understand, what's the problem
6 this program, so you guys adopted it? 6 with overcrowding? Why can't you just have it?
7 A. Yes. 7 MR. COLLINGS:
8 Q. Which sheriff was that? 8 Object to the form.
9 A. That was under Jack Strain, Rodney 9 THE WITNESS:
10 Jack Strain. 10 Why would you? | don't understand
11 Q. And so Rodney Strain recognized that 11 your question.
12 there was an overcrowding issue and, inresponse, |12 BY MR. JACOB:
13 developed an overcrowding plan, which was Code 6, | 13 Q. Well, | mean, who cares? There's
14 correct? 14 more important things to focus on, isn't there?
15 A. Yes. 15 Like making sure the cell doors lock or making
16 Q. And then the Court said, “You can't 16 sure there's food available. | mean, who cares
17 continue with this program," correct? 17 about overcrowding? So what if there's five
18 A. Yes. 18 extra, you know, in the jail?
19 Q. Allright. So once -- well, why was 19 MR. COLLINGS:
20 it that -- why did -- why did that sheriff care 20 Object to the form.
21 about the overcrowding issue, | guess? 21 THE WITNESS:
22 MR. COLLINGS: 22 If nobody cared, we wouldn't be
23 Object to the form. 23 sitting here today.
24 BY MR. JACOB: 24 BY MR. JACOB:
25 Q. Do you know? | mean, why did he 25 Q. Why?
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1 A. Because you wouldn't be sitting 1 problem.

2 across the table from me. 2 BY MR. JACOB:

3 Q. Why? 3 Q. Okay. So what does the overcrowding
4 A. Because you didn't care. 4 problem cause for the jail?

5 Q. Okay. I care. Why do you -- but | 5 A. As far as - so the holding cells

6 care for different reasons maybe. So why would 6 were overcrowded at times. Not each and every

7 you, in corrections, decide, “Oh, this is 7 day.

8 something | need to focus on"? 8 Q. Understood.

9 A. It's still part of jail operations. 9 A. Okay. So — but when it became a

10 If there's overcrowding, we're out of compliance 10 problem or a concern or the fire marshal came in

11 with capacity. 11 and said, "Get down back down to your capacity in
12 Q. I still don't understand, though. 12 holding," we got back down.

13 What's the big deal? | mean, if you're 13 Q. I mean, is it a safety issue?

14 obligated, for instance, by law to take the 14 A. If you got two inmates in there,

15 pretrial detainees and so you just take them. | 15 it's a safety issue.

16 mean, there's -- is there -- is there a legal 16 Q. Okay. But I'm asking -

17 concern with the overcrowding? 17 A. It don't have to be overcrowded to

18 A. | don't understand that question. 18 bea safety issue.

19 Q. Isita safety concern, a legal 19 Q. Okay. So there's no safety issue

20 concern, a compassion concern? Why is it that 20 presented by overcrowding. Is that what you're
21 there was the Code 6 Program trying to alleviate 21 saying?

22 overcrowding? Why was there a focus on trying to | 22 A. I'm not saying that. I'm saying if

23 alleviate overcrowding? 23 you've got more than two inmates, there's a

24 A. Because we knew it to be a problem. 24 safety issue with that inmate —

25 Q. But what's the problem? 25 Q. Okay. Is it an increase -- sorry.

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4 MR. COLLINGS: 1 We're stepping on each other.

2 Object to the form. 2 Is there an increased safety issue

3 THE WITNESS: 3 with overcrowding?

4 The problem is overcrowding. 4 A. [look at a safety issue would be a

5 BY MR. JACOB: 5 safety issue. | don't know if there's an

6 Q. Right. But why -- why does that 6 increase or -- or not.

7 present a problem to the jail? 7 Q. So 20 inmates ina cell is the same

8 MR. COLLINGS: 8 danger as two inmates in a cell?

9 Object to the form. Asked and 9 A. | don't know. | couldn't answer

10 answered multiple times. 10 that.

11 MR. JACOB: 11 Q. With all your training and all your

12 No. He just keeps saying it's a 12 experience, you can't tell me if, as a deputy,

13 problem. | want to know what the problem|13 you know, as a -- as high as you rose, you can't
14 is. 14 tell me if 20 inmates in one cell is as dangerous
15 MR. COLLINGS: 15 as two inmates in a cell?

16 | think the record says what it 16 MR. COLLINGS:

17 says. | think he has answered you. 17 Objection. Asked and answered.

18 MR. JACOB: 18 THE WITNESS:

19 Thank you. 19 You're asking the question like as

20 MR. COLLINGS: 20 -- the same as two and 20.

21 Just you want a different answer. 21 BY MR. JACOB:

22 MR. JACOB: 22 Q. Correct.

23 No speaking. 23 A. That's what I'm hearing.

24 THE WITNESS: 24 Q. Right. Is it the same?

25 It's overcrowding. That's the 25 A. You're not — you're not saying that
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1 it's more dangerous with 20 than two? 1 MR. COLLINGS:
2 Q. That's literally what | asked. Is 2 Object to the form.
3 it more dangerous with 20 than two? 3 THE WITNESS:
4 A. | wouldn't -- | wouldn't -- no. If 4 | said from the beginning, more than
5 you got -- like | say, if you got two inmates, it 5 two inmates in a cell together creates a
6 can be as dangerous as if you have 20. 6 safety concern.
7 Q. Okay. So okay. So overcrowding 7 BY MR. JACOB:
8 doesn't present a safety issue. Does it present 8 Q. More than two?
9 ahealth problem? 9 A. Two. If you got two, they can harm
10 A. I did not say it does not prevent. 10 one another.
11 Q. Oh. 11 Q. Right.
12 A. Ijust said that any —- any amount 12 A. They're at — their safety is at
13 of inmates creates a safety issue. 13 risk.
14 Q. Okay. 14 Q. Allright. So we're in agreement.
15 A. So you're trying to say that it 15 You would tell the sheriff that you don’t know if
16 increases the safety issue. 16 it's going to be an increased danger to have 20
AT Q. Well, I'm not trying to say 17 inacell as opposed to two?
18 anything. I'm just trying to understand. | 18 A. | can't say that.
19 mean, | want to rely on your experience and 19 Q. Okay. Why can't you say that?
20 education to educate me as to whether it does or | 20 A. | don't know that to be true.
21 doesn't. It seems like you're not sure whether 21 Q. Allright. So then you would tell
22 it does or doesn't increase the safety issue? 22 -- you would tell the sheriff, "Sheriff, | don't
23 MR. COLLINGS: 23 know it to be true that it would increase danger
24 Object to the form. 24 to have 20 in here as opposed to two," correct?
25 THE WITNESS: 25 A. Yes.
Page 67 Page 69
4 | can't definitively say that it 1 MR. COLLINGS:
2 does. 2 Object to the form.
3 BY MR. JACOB: 3 BY MR. JACOB:
4 Q. Okay. So your training and 4 Q. That's what you would tell him?
5 experience, you're not sure if 20 inmates would | 5 MR. COLLINGS:
6 be amore dangerous situation than two ina 6 Object to the form.
7 holding cell; is that correct? 7 BY MR. JACOB:
8 MR. COLLINGS: 8 Q. Is that correct?
9 Object to the form. Asked and 9 A. Yes.
10 answered. 10 Q. Okay. Does overcrowding present a
11 BY MR. JACOB: 11 health issue?
12 Q. You just have no idea? {2 A. | don't think that it does create a
13 A. As to what? 13 -- create a health issue.
14 Q. Again, I'll ask it again. And if 14 Q. Okay.
15 there's any part of my question you don't 16 A. Overcrowding in and of itself.
16 understand, let me know. I'll be happy to, you | 16 Q. Does overcrowding increase the risk
17 know, rephrase, restate. 17 of health issues in a cell?
18 A. Uh-huh (affirmatively). 18 A. | would say that the more people
19 Q. So my understanding is that based on |19 come into contact with one another, especially
20 your years of training and experience and the 20 experiencing the last two years with COVID, it
21 trust provided in you by the sheriff, that if you |21 could, yes.
22 were asked by the sheriff, "Hey, can you explain | 22 Q. It could?
23 to me whether it's more dangerous to have two | 23 A. Yes.

24 inmates in a cell or 20 inmates in a cell," you 24 Q. Okay. Do 20 people -- or excuse me.
25 would tell the sheriff, "I have no idea"? 25 Does overcrowding in a cell cause a manpower
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1 issue or a staffing issue for the jail? 1 Q. Allright. So that's good.
2 A. If overcrowding in and of itself 2 A. Yeah.
3 creates a manpower issue? 3 Q. So now we're going to clarify that.
4 Q. Inaholding cell. Yes. 4 I'm glad you did that so we can make sure we both
5 A. You have the staff to watch the -- 5 understand each other.
6 the holding cells. So if you had -- you wouldn't 6 A. Yes.
7 bring in more staff to watch. Your staff is 7 Q. So periodic overcrowding, if you
8 assigned to the holding cell or to a housing unit 8 were asked by the sheriff, "What does periodic
9 orto — you wouldn't call in extra staff. 9 overcrowding -- what are my risks associated with
10 Q. If the sheriff came to you and said, 10 that? Can you tell me based on your training and
11 "I hired you because you're experienced, you're |11 education,” what would you tell the sheriff?
12 trained, and you're educated about these topics. | 12 MR. COLLINGS:
13 Could you write me a memo explaining to me my | 13 Object to the form.
14 risks of having overcrowding in the holding 14 THE WITNESS:
15 cells," what topics would you put in that memo? | 15 A periodic overcrowding, you would
16 A. I've been away from there for about 16 have -- one is the bed space. One is the
17 three years now, so | wouldn't — | wouldn't be 17 — as you're looking at the periodic
18 posed that question. 18 overcrowding, if | got -- like | said,
19 Q. Okay. When | ask you in front of a 19 there's a lot of variables that go into
20 jury that same question, what would you be 20 periodic overcrowding. It's just not I'm
21 explaining to the jury? 21 overcrowded, and I'm going to do nothing
22 A. Like, what's the question? 22 and hope it alleviates itself. So you
23 Q. Okay. So I'm going to say in front 23 start working on the overcrowding first.
24 of ajury -- pretend you have a federal jury 24 BY MR. JACOB:
25 sitting right there. 25 Q. I'm not asking you how to solve it.
Page 71 Page 73
1 A. Yes. 1 I just want to make sure. | said the sheriff
2 Q. Anda federal judge sitting right 2 asked you what his risks were when periodic
3 there. And I'm going to say, "Sir, based on your | 3 overcrowding occurs. I'm not asking you how to
4 experience and training, can you tell me what you| 4 solve it.
5 would tell the sheriff if he asked you to explain 5 A. Okay.
6 to him the risks associated with overcrowding,” 6 Q. He just wants to know what his risks
7 what would you tell the jury? 7 are inthe facility. Any increased risks? Does
8 MR. COLLINGS: 8 it make it safer to have overcrowding?
9 Object to the form. 9 MR. COLLINGS:
10 THE WITNESS: 10 Object to the form.
11 The risks would -- the jail 11 THE WITNESS:
12 population, whether it's overcrowded or 12 If it -- if it doesn't make it safer
13 not, you still have the same risks. 13 to have overcrowding versus not having it
14 BY MR. JACOB: 14 overcrowded. You keep asking me if it's
15 Q. Okay. So increased overcrowding 15 safer.
16 presents no increased risk? Is that -- | just 16 BY MR. JACOB:
17 wanted to make sure | understand you. 17 Q. No. I'm asking you literally to
18 A. Well, you're saying it as if we're 18 just tell me what the risks are, if any? If
19 always overcrowded like -- 19 there's no risks, then just say, "Hey, there's no
20 Q. Nope. I never said that. 20 risks with this."
21 A. -- every single day. That's what 21 A. Well, as I've said, like the — if
22 |'mhearing. That's what I'm after. 22 you have inmates in holding or in the housing
23 Q. Well, thank you for asking. Now we 23 unit, there's a risk.
24 -- 24 Q. Okay. So there's a risk. And then
25 A. That's what I'm hearing. 25 if we take that holding to overcrowding, is the
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1 risk the same? 1 a- well, | don't know if they still have it.
2 A. It's still a risk. | don't - 2 And | don't even know why I'm saying, "we."
3 Q._ If we take that holding cell from 3 Q. Fair enough.
4 the risks as normal, you know, proper housing to| 4 A. Atthe time there was an employee
5 overcrowding, is there an increased risk? 5 assigned to work with the commissioner on -- like
6 MR. COLLINGS: 6 if we had a problem, we would say, "We have an
7 Object to the form. 7 issue with overcrowding," that person would give
8 BY MR. JACOB: 8 him information that he needed to alleviate it.
9 Q. Oris it the same risk? 9 Now, it was still his discretion to release
10 You have three options. You have 10 inmates or not.
11 less risk, same risk, or increased risk. Which 11 Q. Okay. So I'm understanding then
12 are you choosing? 12 that when Code 6 was disbanded, the sheriff
13 MR. COLLINGS: 13 assigned an employee to the specific
14 Object to the form. 14 responsibility of staying in touch with the
15 THE WITNESS: 15 commissioner about housing levels and any
16 | would say it's a risk. | can't 16 overcrowding situation?
17 tell you that it's a lesser risk or more 17 A. Not only housing levels. They
18 of arisk. It's a risk. 18 worked there -- well, they don't work for the
19 BY MR. JACOB: 19 commissioner, but they gave him any information
20 Q. Okay. So you just cannot tell me if 20 for any inmate in our facility. Like, if he
21 it's a lower risk, the same risk, or anincreased [21 asked for, "Get the information on Greg Longino,”
22 risk? That's what! understand you saying; is 22 they would get the information on Greg Longino.
23 that correct? 23 It could be for bonding purposes. It could be
24 MR. COLLINGS: 24 for Code 6. It could be for jail overcrowding.
25 Objection. Asked and answered. 25 They weren't specifically -- they was there to
Page 75 Page 77
1 THE WITNESS: 1 help the commissioner get the information from
2 Yes. 2 the jail that he needed.
3 BY MR. JACOB: 3 Q. Okay. But what I understood was --
4 Q. Okay. So when the Code 6 Program 4 because, remember, we were talking about once
5 was disbanded, were you working there at that 5 Code 6 was disbanded.
6 time? 6 A. Yes.
7 A. Yes. 7 Q. And you said that there was an
8 Q. And so when that program was 8 employee that would work with the commission on
9 disbanded, presumably, the sheriff was still 9 the issue; is that correct?
10 concerned about the overcrowding issue, correct? | 10 A. Commissioner.
11 MR, COLLINGS: 11 Q. Commissioner. I'm sorry. Is that
12 Object to the form. 12 correct?
13 THE WITNESS: 13 A. They would work on the jail
14 Yes. 14 information and getting him that information,
15 BY MR. JACOB: 15 whether it was due to overcrowding, setting a
16 Q. And so then what was next? What was 16 bond. Whatever information he need, they would
17 the next plan of attack for this problem? 17 get him that information.
18 A. After the judges said, "You can no 18 Q. Okay.
19 longer do that, you have to go through the 19 A. And it did include for jail
20 commissioner for jail overcrowding," we had to go 20 overcrowding.
21 through the commissioner for jail overcrowding. 21 Q. But was that a change that was put
22 Q. Okay. And so was there a process 22 in place when Code 6 was disbanded?
23 putin place to go through the commissioner for 23 A. Yes.
24 jail overcrowding? 24 Q. Allright. So there was a change.
25 A. So at that time we still -- we have 25 That employee had a new responsibility, correct?
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4 A. Yes. 1 When would the employee handle it,
2 Q. And that new responsibility was to 2 and when would you have to handle it?
3 work with the commissioner on the overcrowding | 3 A. That's been — like, we keep trying
4 situation, correct? 4 to give that employee the only job --
5 A. Attimes they would work with the 5 Q. Nope. Never did.
6 commissioner on the overcrowding situation. That 6 A. - well, you just keep saying —
7 wasn't their only job. 7 boxing it to overcrowding.
8 Q. Understood. 8 MR. COLLINGS:
9 A. They was there to provide 9 Just can | ask that y'all not talk
10 information. 10 over each other because, you're going to
11 Q. But that was an added responsibility 11 make it difficult for the court reporter.
12 when Code 6 was disbanded; is that correct? 12 I'm noting for the record y'all are both
13 A. Yes. 13 doing it.
14 Q. Allright. And how long did that 14 THE WITNESS:
15 continue? 15 Okay.
16 A. It continued up until | left the 16 BY MR. JACOB:
17 agency. 17 Q. Okay. So, no, actually | never said
18 Q. Okay. You had said, though, that 18 it was the only job. What | said was the
19 there were times that you and the sheriff would |19 employee who was responsible for the overcrowding
20 petition the judge and the commissioner onthe | 20 would talk to the commissioner, and you, at
21 overcrowding situation. | guess, why would you | 21 times, would talk to the commissioner about the
22 two need to be involved if there's already this 22 overcrowding, is what | understood you to say; is
23 employee involved now? 23 that correct?
24 A. Well, | don't know that | said, "I 24 A. Yes.
25 and the sheriff." | would inform the sheriff. 25 Q. Allright. So when was it for the
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1 I've never known the sheriff to be in a meeting 1 employee to discuss the overcrowding with the
2 with me and the judge. So | don't know if | said 2 commissioner, and when was it for you, as deputy
3. that or - 3 chief, to discuss the issue with the
4 Q. I must have misunderstood. 4 commissioner?
5 A. So when | tell the sheriff, | got to 5 A. Well, it was -- that was part of
6 go handle it as the deputy chief. | know he 6 their job, is to give the commissioner the
7 don't come in the office with the judge. | went 7 information. And when | saw that we were over
8 and did that. So! don't - | don’t want that to 8 capacity, we had no means to release any inmates,
9 be like the sheriff was in the office doing this, 9 no ones have been released and you're over
10 that, that. And, you know, | may have used the 10 capacity, | would get with the commissioner and
11 wrong word in "petition." Because | think we're 11 let him know, "Hey, look, we have an issue in
12 getting into like we petitioned the Court. But 12 holding, and we need some relief." All right?
13 we would go to the chief judge and say, "We have 13 At that time, he would either help or help as
14 an overcrowding problem." And at that time they 14 muchas he could. If it didn't alleviate the
15 would work from there. 15 situation, we would have to go to the chief
16 Q. The added responsibility to this 16 judge.
17 employee to work with the commissioner on 17 Q. What's the purpose -- I'm sorry. |
18 overcrowding, was that added responsibility to 18 cut you off. Go ahead. Were you done?
19 you? Were you that employee? 19 A. Yeah, I'm done.
20 A. No. 20 Q. Sorry. What's the purpose of a
21 Q. Okay. So there are then two people. 21 holding cell?
22 We have that employee working on the 22 A. To hold an inmate until they're
23 overcrowding. But then you're telling me there | 23 assigned to a permanent housing unit.
24 were times that you, as deputy chief, would say, | 24 Q. And how long do they stay in
25 "Ihave to go handle this with the commissioner.” | 25 holding?

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A. How long do they stay in holding? Q. Why wouldn't they all just be
It depends. holding cells throughout the whole facility?
Q. On? MR. COLLINGS:

A. Onif they can bond out, if they're
going to be there long term, or if the courts
release them or not. So it just depends.

Q. According to the sheriff's office
policy and practice back in 2019, what was the
longest time that detainees were permitted to

remain in holding?

A. We didn't have a policy on how long
they were permitted to stay in holding.

Q. Are holding cells constructed or
designed, laid out differently than the main
housing, general population cells?

A. Yes.

Q. And how do they differ?

A. The holding cell is -- the male
holding cell, the holding cells that we're
referring to, are concrete benches, a toilet in
the corner, a phone in the corner versus a
housing unit has bed space.

Q. Bed space? Well, they're --

PO BRO PO PO hO | ee 2k ok ek ok 8 ok
BONSOCOMNDHRONSBOVPONOUOHRWNA

Object to the form.
THE WITNESS:
Why wouldn't they all be holding
cells?
BY MR. JACOB:
Q. Yes.

A. Because holding is for a person
getting processed in and await a bed. And once
we get a bed in the back of the jail, they're
moved to that particular bed.

Q. Right. But why not just put -- why
not just have all -- | mean, don't you alleviate
the entire problem if all the cells are exactly
the same and just put them in a cell witha
cement bench, and let them wait out their
sentence? Why not just do that?

A. Because when they're admitted to
your count, they're going to a housing unit where
they're to be housed for long term.

Q. Why can't they do long term ina

24 A. Like, they got beds, and there's all cell with a bench the same way as holding?
25 their jailhouse issue, the mattress, the sheets, 25 MR. COLLINGS:
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1 the blankets, the pillow, all of that. 4 Object to the form.

2 Q. Would -- would it be cheaper to 2 THE WITNESS:

3 build a holding cell or a general population 3 That's not how it's done.

4 cell? 4 BY MR. JACOB:

5 MR. COLLINGS: 5 Q. Well, | know that's not how it's

6 Object to the form. 6 done. I'm asking why is it not done that way?

t THE WITNESS: ¢ A. It's just not how it's done.

8 It depends on what you want your 8 There's no rhyme or reason. When a person -- we
9 holding cell to look like. 9 have a bed in the back of the facility, and we

10 BY MR. JACOB: 10 move that person out of a holding cell to that

11 Q. No. I'm saying --I'm sorry. The 11 bed for a pretrial detainee.

12 current holding cells versus the current general | 12 Q. So it's just completely arbitrary

13 population cells, would you agree with me it's |13 that general population cells differ from holding
14 cheaper to build a holding cell? 14 cells in their design and layout?

15 MR. COLLINGS: 15 MR. COLLINGS:

16 Object to the form. 16 Object to the form.

17 THE WITNESS: 17 THE WITNESS:

18 It could be cheaper, yes. 18 Well, they are completely arbitrary?

19 BY MR. JACOB: 19 BY MR. JACOB:

20 Q. So why is it that the sheriff or the 20 Q. Right.

21 parish would create these general population | 21 A. So they're designed for long-term

22 cells? 22 housing.

23 MR. COLLINGS: 23 Q. Okay.

24 Object to the form. 24 A. The housing unit.

25 BY MR. JACOB: 25 Q. Long-term housing?
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1 A. Yes. 1 A. Because they're getting a mattress,
2 Q. So what is it that you need to live 2 and they're getting a bed. That's one of the
3 in long-term housing that you don't have inthe | 3 standards.
4 holding cell? 4 Q. What standards?
5 A. Like the -- as far as living 5 A. Like a basic jail guideline.
6 amenities? Or what are you talking about? 6 Q. What basic jail guideline?
7 Design? Amenities? What are you saying? t A. Like through the Department of
8 Q. Well, you said one is designed for 8 Corrections. They get bedding, you know, when
9 long-term housing. Then I'm going to assume, | 9 they're assigned to a permanent housing unit.
10 correct me if I'm wrong, that holding is not 10 Q. But those DOC guidelines only
11 designed for long-term housing? 11 pertain to DOC inmates, correct?
12 A. It is not designed for long-term 12 A. Yeah. But they're -- if you're
13 housing. 13 going to go by -- it goes throughout the
14 Q. And I guess I'm asking what is it 14 facility. Bedding is bedding. It's not just for
15 that a detainee or an inmate would need to live | 15 DOC inmates or a federal inmate. You also give
16 long term ina cell as opposed to not long term | 16 _ it to the pretrial inmate as well when they get
17 inacell? 17 to permanent housing.
18 MR. COLLINGS: 18 Q. But you don't have to, correct?
19 Object to the form. 19 A. Yes.
20 THE WITNESS: 20 Q. You do have to?
21 Okay. Well, they would need — they 21 A. Yes.
22 would get a bed, so they would need 22 Q. Why?
23 bedding. They would need their sheets, 23 A. They get bedding when they go to a
24 pillow, pillowcase, all the -- toothpaste 24 permanent housing unit.
25 toothbrush, soap. But some of that they 25 Q. But why, I guess, is what I'm
Page 87 Page 89
1 get in holding. Some of it they don't. 4 saying? I know you do it. | know the jail did
2 So they wouldn't get a mattress or 2 it. But I'm asking why did the jail do it if the
3 something unless it was medically 3. jail did not have to do it?
4 prescribed. But if they're going to be 4 MR. COLLINGS:
5 there long term, meaning they've done 5 Object to the form.
6 their stint in the holding cell, and 6 BY MR. JACOB:
f they've gotten a bed, they're probably 7 Q. Just to be nice?
8 going to be with you. 8 MR. COLLINGS:
9 BY MR. JACOB: g Object to the form.
10 Q. Okay. You said, "done their stint," 10 THE WITNESS:
11 as if it's you got to serve a period of time in 11 No.
12 holding? 12 BY MR. JACOB:
13 A. Yeah. 13 Q. Okay. So not just to be nice. Then
14 Q. And then you -- 14 why? I heard there's no regulation that required
15 A. Orserved a period of time in 15 itin pretrial. | hear it's not to just be nice.
16 holding. 16 So then why was a mattress, pillow, sheets
17 Q. Okay. Why is it that general 17 provided to the inmates in the pretrial bed -- in
18 population inmates, though, need a mattress or| 18 the pretrial cells?
19 need a pillow or need sheets? 19 A. So the -- when we -- when a person
20 MR. COLLINGS: 20 is admitted to our jail, part of it is they get
21 Object to the form. 21. out of holding into a permanent housing unit,
22 THE WITNESS: 22 they get bedding because they get a bed.
23 Why is it they need it? 23 Q. Why do they get a bed?
24 BY MR. JACOB: 24 A. Because that's part of the housing
25 Q. Yes. 25 unit design.

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1 Q. Why was it designed that way for 1 Q. So then as long as DOC housing has
2 them to have a bed? 2 it, you're complying with the standard, correct?
3 MR. COLLINGS: 3 A. The basic jail guidelines, yes.
4 Object to the form. 4 Q. For the DOC, correct?
5 THE WITNESS: 5 A. Yes.
6 They're going to be there long term. 6 Q. Allright. So now we're just
7 BY MR. JACOB: 7 talking about pretrial. DOC standard does not
8 Q. So what? Why can't they just sleep 8 say, "By the way, not just our inmates but the
9 on the floor like they did sometimes in holding? | 9 inmates that are pretrial parish inmates, you
10 What's the big deal? 10 also have to treat the following way," correct?
11 MR. COLLINGS: 11 MR. COLLINGS:
12 Object to the form. 12 Object to the form.
13 THE WITNESS: 13 THE WITNESS:
14 As far as the why, the standard is 14 I'm not — I'm not getting your
15 when they go to the back, whether you're 15 question.
16 pretrial -- well, | don't want to say, 16 BY MR. JACOB:
17 "the standard is," but it's really a 17 Q. Yeah. DOC standards does not say
18 standard -- but they get bedding. 18 that, “If you house our inmates, then all inmates
19 BY MR. JACOB: 19 that you house, even if they're not our inmates,
20 Q. Okay. Now, is it or is it nota 20 you must comply with our standards,” correct?
21 standard? 21 A. No, it does not say that.
22 A. There's a standard for Department of 22 Q. Allright. So we can just set that
23 Corrections that we accepted this policy to give 23 standard aside then for a minute.
24 them bedding when they go to a permanent housing | 24 A. Okay.
25° unit. 25 Q. Now, you said that the sheriff
Page 91 Page 93
1 Q. Okay. So there's a standard for DOC adopted a policy, though, that said, "We are
2 for DOC inmates that the jail adopted and made going to give bedding to our pretrial detainees
3 policy for general population pretrial detainees; even though we don't have to," correct?
4 is that correct? MR. COLLINGS:
5 A. Yes. Object to the form.
6 Q. And why is it that the jail decided THE WITNESS:
7 to adopt that standard as policy for the general The policy is we're going to give a
8 population inmates? person that is admitted to a long-term

9 A. Because it's a standard that we go

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housing unit bedding.

10 by, the State. BY MR. JACOB:

11 Q. No, | understand that. But we've Q. Okay. Why? Why not just have them
12 already established you don't have to do the DOC sleep on the floor?

13 standard for pretrial, which is why it became a MR. COLLINGS:

14 policy, correct? It was a decision that, yeah, Object to the form.

15 we're going to follow it anyway, correct? THE WITNESS:

16 A. It didn’t happen like that. But Opposed to staying in holding? Or

17 wherever DOC inmates are housed in a facility, what are you saying?

18 they would need those things. So everybody gets BY MR. JACOB:

19 bedding. Q. Why not have the pretrials -- you

20 Q. But DOC inmates are not put in 20 said funding is tight. So why not just have them
21 federal housing, correct? 21 sleep on the floor back in general population,

22 A. No. 22 save the cost of bedding?

23 Q. And DOC inmates are not put in 23 A. When the jail was designed, it had

24 pretrial housing, correct? 24 bedding, so —

25 A. No. 25 Q. Well, bedding gets replaced,
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1 correct? 1 fora year?
2 A. As faras? 2 A. No.
3 Q. Meaning you don't have the original 3 Q. Why not?
4 bedding from when the jail opened, do you? 4 A. Why would I? | mean, it's not --
5 A. No. 5 Q. No. I didn't ask why you would. |
6 Q. Allright. So then at some point 6 asked why can't you?
7 there was a decision to continue -- after itwas | 7 A. So why wouldn't | -- why would |
8 designed, to continue to provide bedding to the| 8 keep them there a year?
9 general population pretrial detainees, correct? | 9 Q. Are you permitted to keep a
10 A. Uh-huh (affirmatively). 10 detainee, a parish detainee, in a holding cell
11 Q. "Yes"? 11 fora year without bedding? Yes or no?
12 A. Yes. I'm sorry. 12 A. No.
13 Q. Why? 13 Q. And why not?
14 MR. COLLINGS: 14 A. They would need a bed if they're
15 Object to the form. 15 there a year.
16 THE WITNESS: 16 Q. Why? Why are you not permitted,
17 It's also a jail standard, like, to 17 though? You said you're not permitted. Why are
18 give bedding to a person going to a house 18 you not permitted?
19 unit. It's not only a DOC standard. It's 19 A. Oh, you're talking about like to
20 also a standard. 20 have them in holding for -- what are you asking?
21 BY MR. JACOB: 21 I'm—
22 Q. Is that Title 22? 22 Q. Okay. I'll ask the question again.
23 MR. COLLINGS: 23 Why is you said that you're not permitted to have
24 Object to the form. 24 a parish pretrial detainee in the holding cell
25 THE WITNESS: 25 fora year without bedding? You said you're not
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1 | don't know exactly the title. 1 permitted to do that, so I'm asking you why not?
2 BY MR. JACOB: 2 A. Not permitted to have him in holding
3 Q. Butit's your understanding that 3 ayear, period, --
4 there's a jail standard that is applicable and 4 Q. Allright. What's the --
5 binding on the jail to provide bedding toa 5 A. -- with or without bedding.
6 general population detainee? 6 Q. Okay. What's the limit, then, for
7 A. Yes. 7 holding them in holding?
8 MR. COLLINGS: 8 A. As far as holding them in holding,
9 Object to the form. 9 according to the administrative, it's 48 hours to
10 THE WITNESS: 10 move them out of an individual holding cell.
11 I'm sorry. 11 Q. You said, "according to the
12 BY MR. JACOB: 12 administrative." Do you mean according --
13 Q. And after how much time is it that 13 A. Administrative law for the state of
14 that detainee is to be provided with bedding 14 Louisiana, yes.
15 according to that standard? 15 Q. According - it’s your understanding
16 MR. COLLINGS: 16 that according to administrative law for the
17 Object to the form. 17 state of Louisiana that you have 48 hours to move
18 THE WITNESS: 18 an inmate from holding into a bed?
19 It doesn't necessarily state, like, 19 A. From an individual holding cell.
20 after a certain amount of time they need 20 MR. COLLINGS:
21 bedding. 21 Object to the form.
22 BY MR. JACOB: 22 BY MR. JACOB:
23 Q. After -- so you could conceivably, 23 Q. From an individual holding cell to a
24 if I'm understanding, keep that detainee in the 24 general population bed?
25 holding cell and never provide them with bedding | 25 A. Yes.
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1 Q. Okay. That's your understanding? | 1 A. Yes.
2 A. Yes. 2 Q. Now, do you see a problem in
3 Q. Allright. And where did your 3 corrections with having the detainees sleep on
4 understanding come from? 4 the concrete floor or concrete benches with just
5 A. Administrative law, code. 5 ablanket past 48 hours?
6 Q. And was it your understanding that | 6 A. If they do not bond out, | can't —
7 that was law that had to be followed? i Q._ I didn't ask that.
8 A. As it pertains to individual holding 8 A. Well, what are you asking then?
9 cells. 9 MR. COLLINGS:
10 Q. So you did understand it to be a law | 10 Hold on. You got to finish your
11 that had to be complied with or not? 11 response before you start answering
12 A. Yeah. But! can't enforce it and 12 another question. Y'all keep doing that.
13° comply with it. 13 THE WITNESS:
14 Q. So you did understand it to be a law | 14 I'm sorry.
15 to be complied with or not? 15 BY MR. JACOB:
16 MR. COLLINGS: 16 Q. Okay. But, actually, to expand on
17 Object to the form. 17 that, you also need to answer my questions, not
18 THE WITNESS: 18 the questions that you might want to answer.
19 As far as the individual holding 19 So, again, is there a problem that
20 cell, we couldn't keep them in an 20 you see in corrections with having a detainee
24 individual holding cell for 48 hours. 21 sleeping on a concrete floor or concrete bench
22 BY MR. JACOB: 22 with just a blanket past 48 hours?
23 Q. So you did understand it to be law | 23 A. No.
24 to be complied with or not? 24 Q. And why not?
25 A. Yes. 25 A. Because if that person is admitted
Page 99 Page 101
1 Q. Allright. And am | correct that 1 to our jail and they're awaiting bond or awaiting
2. that law, that rule, was not being followed with 2 trial, | have to house them, right? So if | got
3 respect to the St. Tammany Parish Jail in 2019? | 3 to house them, they've got to wait for the next
4 A. | would say that that 48-hour to be 4 available bed in our facility.
5. in holding, an individual holding cell, no. 5 Q. Even if it takes a year?
6 Q. Do you -- do you see any problem 6 MR. COLLINGS:
7 with -- from a corrections standpoint, do you see | 7 Object to the form.
8 any problem with a detainee not having bedding | 8 THE WITNESS:
9 past the 48 hours? 9 So it shouldn't take a year. But if
10 A. Dolseea problem with it? 10 he's not released by the courts, | have no
11 Q. Yes. 11 authority to release him. If | don't have
12 A. When you say, "bedding," we did 12 a bed in the back of the jail, | have no
13 issue them a blanket and stuff in holding. 13 place to put that person.
14 Q. Well, not in -- 14 BY MR. JACOB:
15 A. Butnot a bed. 15 Q. Well, you do. You could put them in
16 Q. Well, not "and stuff." You gave 16 POC empty beds, correct?
17 them a blanket, correct? 17 MR. COLLINGS:
18 A. Gave them a blanket. They took 18 I'm sorry, POC?
19 showers and, you know, so -- 19 BY MR. JACOB:
20 Q. But we're talking about bedding, so 20 Q. Excuse me. I'm sorry.
21 -- 21 Pennsylvania.
22 A. Bedding, no. We gave them a 22 The DOC beds, correct?
23 blanket, yes. 23 A. | would not.
24 Q@. Okay. And they slept on concrete 24 Q. No, not would you.
25 floors or benches, correct? 25 A. Well --
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Q. If there's an empty bed, you could
put them in there, you just won't, correct?

A. [would not. And | could.

Q@. You could. Okay. And same with the
feds. You wouldn't put them in there, but you
could, correct?

A. Yes.

MR. COLLINGS:

Object to the form.
BY MR. JACOB:

Q. Allright. So at some point, is
there a line crossed where you say, "This guy
cannot continue in holding without bedding"?

A. No.

Q. Okay. So, again, you could
conceivably, according to how the jail -- the
practice in place, you would agree with me, in
2019, was that pretrial detainees can remain way
past or anytime past 48 hours in the holding cell

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accomplishes the care, custody, and control of
inmates, correct?

A. Yes.

Q. Allright. So what penological
interest is furthered by overcrowding in the
holding cells?

A. There is no penological interest in
overcrowding in the holding cells.

Q. What penological interest is served

by having a detainee sleep on a cement floor?

A. None.

Q. What penological interest is served
by holding an inmate, a pretrial detainee, in a
holding cell when -- in an overcrowded situation
when there's an empty bed in the DOC and/or
federal buildings?

A. None.

Q. Okay. Are you aware that there
were, as a result of overcrowding, inmates

20 sleeping with just a blanket on a concrete floor, |20 sleeping on the floor of the holding cells?
21 aconcrete bench even if there's an empty bed in | 21 A. That's not as a result of
22 DO--in the DOC wing and/or building and the 22 overcrowding. They sleep on the floor and on the
23 federal building, correct? 23 benches of the holding cells when they have one
24 MR. COLLINGS: 24 or two in there. It's not specifically in

25 Object to the form. 25 reference to overcrowding.

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dl THE WITNESS: 1 Q. Okay. Would you agree with me,

2 Correct. 2 though, that once there is overcrowding to the
3 BY MR. JACOB: 3 extent of 20-plus inmates, it becomes a necessity
4 Q. Allright. And it was the practice 4 to sleep on floors as well as benches?

5 in place that overcrowding can continue in 5 A. Yes.

6 holding in 2019 even if that overcrowding could 6 Q. Okay. And am | correct that the

7 have been alleviated by putting pretrial 7 lights don't turn off back in the general holding
8 detainees in DOC beds and federal beds, correct? | 8 area where they do in general population?

9 MR. COLLINGS: 9 A. So- yes.

10 Object to the form. 10 Q. Okay. Why?

11 THE WITNESS: 11 A. It's just like in all housing units.

12 It could, yes. 12 Some lights stay on in housing units, but you cut
13. BY MR. JACOB: 13. off the big lights. But you do have lights on

14 Q. Okay. Was -- do you know what! 14 for security measures, to see through the housing
15 mean by a penological interest? 15 unit. And it's the same for the holding cell, so

16 A. An interest of the penal system or 16 that we can see in the holding cells. Because

17 jail or corrections facility. 17 that's where a lot of your movement happens

18 Q. Okay. And how have you heard that 18 throughout the day. 24 — you're open up there

19 term utilized in the industry? 19 24 hours a day, just like in a housing unit. But

20 A. | know it was through a training 20 you have inmates assigned to that housing unit,
21 that! heard that term. 21 so -- not like in the holding cell. You may have
22 Q. Okay. So you understand if I use 22 somebody come in at 1 o'clock in the morning.

23 that term what I'm talking about? 23 You may have another come in at 2 o'clock in the
24 A. Yes. 24 morning. It may be constant movement, so --

25 Q. Some interest that furthers or 25 Q. Would you agree with me, though,
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1 that back in the general population, there is a 1. with lights off. So | can't say definitively

2. set of lights that are turned off around 10:00, 2 like, "They go to sleep because we cut off the

3 10:30, that come back on around 6:00 or so? 3 lights."

4 A. Yes. 4 Q. Do you know anything about the

5 Q. And that's for purposes of allowing 5 circada (sic) rhythm of our bodies?

6 people to sleep, correct? 6 MR. COLLINGS:

7 A. Yes. 7 Object to the form.

8 Q. And back in the holding cell area, 8 BY MR. JACOB:

9 there are no lights that go off at 10:30ish and 9 Q. Imean, have you heard of that?
10 come back on at 6:00; is that correct? 10 A. I'm pretty sure | have, but | don't

11 A. No. 11 know what it is.

12 Q. It's not correct? 12 Q. Imean, do you understand that with
13 A. No, you're right. 13 light generally our bodies are made to wake up,
14 Q. Oh, okay. 14 and with darkness our bodies are generally made
15 A. I'm sorry. 15 to go to sleep?

16 Q. So why was it determined that 16 MR. COLLINGS:

17 certain lights need to go off back in the general | 17 Object to the form.

18 population area? 18 THE WITNESS:

19 A. They are like -- that's long-term 19 | said | don't know what it is.

20 housing, and whenever they're back there at 20 BY MR. JACOB:

21 10:30, lights are off. Everything goes off. |'m 21 Q. Oh, okay. Well, I'm asking you,

22 saying 10:30. | don't know if that's still a 22 though. Do you understand that light, for most
23 rule. But at the time, the lights are off. It's 23 people, generally, just as a layperson, do you
24 time to shut down for the night. 24 understand that sunlight or no sunlight or when
25 Q. Was it just generally understood 25 it's light and dark, that impacts our sleep?

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1. that if the lights aren't turned off for people 1 MR. COLLINGS:

2 to sleep that it would have a negative impact on | 2 Object to the form.

3. their health and mental welfare? 3 THE WITNESS:

4 A. No. | don't think that was 4 Yes.

5 generally understood. 5 BY MR. JACOB:

6 Q. Then why is it that it was designed 6 Q. And do you think that may have

7 that way? 7 factored into the decision for lights to be

8 A. It was designed that way because you 8 turned off at a certain time back in general

9 have constant movement in the holding cells. 9 population?

10 Q. No. My question is, why is it 10 A. Like | say, | don't -- like, | don't

11 designed to go off back in the general? Sorry. |11 know what that's - what you called it? Circada

12 That was my poor question there. 12 (sic) rhythm?

13 A. Okay. In the general, like | said, 13 Q. Yeah.

14 they're assigned to a long-term housing unit, and | 14 A. Yeah.

15 at 10:30 that's — the lights go off. 15 Q. I don't even know if that's right

16 Q. Right. But why? Why -- 16 either.

17 A. So they can go to sleep. 17 A. That's not why the lights go off or

18 Q. So you're saying without that, it's 18 on. The lights go off or on because that's — at

19 hard to sleep? 19 10:30, it's time to go to sleep for lockdown.

20 A. I'm not saying that. Because they 20 Q. Okay. So --

21 sleep throughout the whole day. So I'm -- so 21 A. Movement stops and stuff like that.

22 inmates sleep throughout the whole day with 22 Q. Okay. So you keep saying you don't

23 lights on or with lights off. 23 know why, but you keep saying it's so inmates can
24 Q. Okay. 24 goto sleep.

25 A. And some of them are up all night 25 A. Yeah. It's time for — it's time to

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1 goto sleep. It's time to shut it down. 4 A. Yes.
2 Everything is off. 2 Q. Okay. And, in fact, my
3 Q. Okay. 3 understanding is some of it's sort of like
4 A. That don't mean they go to sleep. 4 furniture there. It's been there for a while?
5 Q. Why don't you -- why don't you leave 5 A. | don't know that to be true but --
6 the lights on in general population all night and | 6 Q. Okay. | mean, have you seen some
7 then turn them off during the day? 7 that's been there for a while?
8 MR. COLLINGS: 8 A. At that time, | would walk through.
9 Object to the form. 9 | wouldn't know how long it's been there.
10 THE WITNESS: 10 Q. Allright. But it wasn't something
11 There's no reason. It's they just 11 that is, you know, scraped off the ceiling,
12 go off at night at 10:30. 12 scraped off the walls every time the cell is
13. BY MR. JACOB: 13 cleaned, correct?
14 Q. So it was just arbitrarily decided 14 A. [can't say -- | can't say that it
15 that at 10:30, coincidentally around the time 15 was. No. I can't say that. | wasn't there to
16 that we want inmates to go to sleep, we're going |16 see it happen.
17 to turn off the lights, and they're going to come | 17 Q. Okay. But you know it was there at
18 back on coincidentally at the time we wantthem |18 times?
19 to wake up? 19 A. It was there at times, yes.
20 A. You can say that, yes. 20 Q. All right. And you know that at
21 Q. Okay. With respect to overcrowded 21 times there was urine on the floor?
22. holding cells and the fact that there's a single 22 A. I'm pretty sure.
23 toilet, would you say that the cell becomes 23 Q. And you know at times there was
24 dirtier due to overcrowding than it would if 24 feces on the floor?
25 there was just two inmates in the cell? 25 A. I'm pretty sure.

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A. Yes.

Q. Okay. And am | correct, though,
that there is a policy for cleaning the cells?

A. Yes.

Q. And am | correct, though, that the
frequency or the cleaning of the cell, the
holding cells, did not change when there was
overcrowding as opposed to when there wasn't
overcrowding?

A. No, they did not.

Q. Okay. So it was the same cleaning
schedule even when there was overcrowding?

A. Yes.

Q. And even the fact that it would be
dirtier in those cells during overcrowding?

A. It will still get cleaned at the
same times.

Q. Right. So --

A. It's still clean.

Q. Right. The same schedule even
though it was dirtier, correct?

A. Yes.

Q. Okay. Have you ever seen toilet
paper stuck to the walls and ceilings of the
holding cell areas?

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Q. And you know at times there was
vomit on the floor?

A. |'m pretty sure, yes.

Q. And you know at times there was
blood on the floor?

A. Yes.

Q. And you know at times there were
inmates in holding cells with open wounds?

A. It's possible.

Q. But do you know that it has
happened?

A. I'm pretty sure. Inmates have come

in there with open wounds.

Q. And am| correct that the schedule
for cleaning, though, still always remained the
same?

A. So the schedule for cleaning always
remained the same. But if you see some puke on
the floor or some urine on the floor, you clean
it up.

Q. Well, you would hope so?

A. | would hope.

Q. Okay. But there's no policy
requiring that the cell be sanitized if someone
vomited on the floor, correct?

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MR. COLLINGS: Q. Allright. Let me ask it this way.
Object to the form. lf the plaintiffs say that that didn't happen,
THE WITNESS: you don't have any evidence that -- that they're

I'm sorry. If any fluids come out
of you, it's to be cleaned up. If bodily
fluids hit the floor, hit the atmosphere,
blood, spit, urine, feces, any of that,
vomit, you clean it up. You know, you
don't let it stay there if you are aware
of it.
BY MR. JACOB:
Q. Okay. So every time the cell would
be emptied and sterilized if someone vomited, if
someone bled, if somebody urinated on the floor?
A. | don't know if that happened every
time.
Q. Okay. Well, what was the policy,
then, that was in place if there was some blood
on the floor, vomit on the floor? Was the cell

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wrong, that, in fact, the cell was emptied and
was cleaned and was sterilized when that
happened?
A. | personally have no knowledge.
Q. You have no knowledge, no evidence
to refute that, correct?
A. Ido not.
Q. Meaning you can't say, "No.
Actually, | have checked logs and every single
time that happened, it was we dumped the cell,
we, you know, sanitized"? You can't say that
that happened?
MR. COLLINGS:
Object to the form.
THE WITNESS:
| certainly can't say it now because

20 to be emptied and resterilized in addition to the I've been gone since -- well, about three

21 regular cleaning schedule? years, since October 11th. So, no, |

22 A. Itwas to be cleaned. When you say, 22 couldn't say that.

23 "sterilized" -- 23 BY MR. JACOB:

24 Q. For biohazards? 24 Q. Okay. And you never knew that to be
25 A. Yes. 25 the practice, correct?

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1 Q. Was it sterilized for biohazards? 1 A. What's that?

2 A. As far as the blood, urine, feces, 2 Q. Todump the cell, mop out the whole

3 vomit, you would have to clean that up with a 3 cell, sterilize it from top to bottom in those

4 solution. | don't know what solution it is, but 4 situations?

5 in goes in the water, and they mop it up. 5 A. From top to bottom, no.

6 Q. Allright. So they mop the cell. 6 Q. Okay.

7 So is it your testimony, then, that -- was there 7 A. But they were to clean up whatever

8 a policy in place that if somebody vomits, if 8 is affected, get it out of there, sterilize it

9 somebody urinates on the floor, if there's blood | 9 with whatever solution they have. But it wasn't

10 on the floor, the cell has to be emptied of all 10 atop to bottom cleaning, no.

11 inmates and the cell mopped and sterilized? 11 Q. Okay. But, again, you didn't know

12 A. That's - no. 12 it to be the practice that if someone vomited in
13 Q. "No"? 13 acell, they dumped the whole cell, they mopped
14 A. No. 14 out the whole cell, and they sterilized the cell,
15 Q. Allright. And that -- that's not 15 correct?

16 something that that happened in 2019, correct? | 16 MR. COLLINGS:

17 The cell wasn't emptied and sterilized in those | 17 Object to the form. Asked and

18 situations? 18 answered.

19 MR. COLLINGS: 19 BY MR. JACOB:

20 Object to the form. 20 Q. You didn't know that to be the

21 BY MR. JACOB: 21 practice, correct?

22 Q. Correct? 22 A. No.

23 A. [donot Know that. No. | wasn't 23 Q. "No," you did not know it to be the

24 personally there, so | can't say yea or nay, so 24 practice?

25 -yesorno. I'm sorry. 25 A. | did not know it to be the
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1 practice. 1 More than if you were in another parish.
2 Q. Allright. Do you know, since you 2 Q. Okay. Have you ever heard it in
3 were involved in operations, whether -- I'm 3 reference to the jail itself?
4 trying to see how to ask this right -- whether 4 A. No, | have not.
5 the sheriff received or the jail received more 5 Q. Have you heard the reputation in the
6 funds for a federal inmate or a DOC inmate than| 6 community about the jail and whether it's a nice
7 fora parish detainee? 7 place or not a nice place?
8 A. You're talking about per diem? 8 MR. COLLINGS:
9 Q. Justin general. However the money 9 Object to the form.
10 comes in. 10 THE WITNESS:
11 A. You get more for housing a federal 11 | don't get too many people saying
12 inmate than housing a DOC inmate than housing a | 12 it's a nice place.
13 pretrial inmate. 13. BY MR. JACOB:
14 Q. So the pretrial inmate brings in the 14 Q. What are the -- so you're generally
15 least amount of money? Is that a correct 15 familiar with, then, as far as the reputation of
16 statement? 16 the jail in the community? Is that fair to say?
17 MR. COLLINGS: 1 A. Well, are we tying St. Slammany to
18 Object to the form. 18 the jail or --
19 THE WITNESS: 19 Q. No. I just asked you about the
20 Yes. 20 jail.
21 BY MR. JACOB: 21 A. Okay. The jail is the jail. |
22 Q. Okay. You've heard the jail 22 don't --
23 referred to as St. Slammany? 23 Q. I'm not sure what that means. But
24 A. Yes. 24 are you generally familiar with the reputation of
25 Q. And when did you -- how long have 25 the jail in the community?
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1 you heard that? 1 A. Yes.
2 A. Iguess since it's been around. | 2 Q. Allright. And what is the
3 couldn't put a date and time on it. But, yes, 3 reputation of the jail in the community?
4 I've heard that that's what it's called, St. 4 A. It's a jail. It's -- it's -- you
5 Slammany. 5 know, "My son don't need to be there." We geta
6 Q. And do you know why it's called 6 lot of the -- you're here in this jail, so we get
7 that? 7 the brunt of, "My son shouldn't be there." "I
8 A. Of the harsh sentences that are 8 can't help that. | have to house him. He's
9 passed out by the judges. 9 here. He's legally admitted to the jail," so --
10 Q. Of the what? 10 But | don't get that we abuse
11 A. The judges. 11 people, or | didn't get that we abused people or
12 Q. What about it? 12 any of that in the community. Now, would they
13 A. That's what St. Slammany is. 13 tell me that? | don't know but --
14 Q. Idon't understand. 14 Q. Fair enough. Do you know the
15 A. Like, it's for the harsh sentences, 15 reputation to be that the jail is a dirty place?
16 what's being passed down by the judges. That's | 16 A. No.
17 what St. Slammany is. It's not because of the 17 Q. Do you know the reputation to be
18 jail. It's because of the harsh sentences that 18 that the jail is a dangerous place?
19 are passed down. 19 A. All jails are dangerous.
20 Q. Well, that's interesting. Okay. 20 Q. That wasn't my question.
21 A. I'm just saying, like, that's -- 21 A. Allright. But, no, | do not.
22 that's why they call it -- that's my 22 Q. Do you know the reputation to be
23 understanding of St. Slammany, is you go over | 23 that the holding cells are a horrible, inhumane
24 there, if you commit a crime, you're going to 24 place to be?
25 prison, and you're going for a mighty long time. | 25 A. | know that people do not like our

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1 holding cells. Yes, | do know that. 1 Did you ever hear that only one roll was provided

2 Q. All right. 2 at atime in the holding cells?

3 A. | don't know if the horrible, 3 A. Did | hear that?

4 inhumane place to be. They don't say it like 4 Q. (Nods head affirmatively.)

5 that. “It's a horrible place to be." Yes. And, 5 A. No.

6 "I don't want to be in the holding cells." 6 Q. Did you know that?

7 Q. And why not? Why do they say that? 7 A. Yes.

8 A. That they just don't want that 8 Q. And did you know that when that

9 experience, you know. If they're there sleeping 9 occurred, it became -- when it became a scarce
10 onthe floor, sleeping on the bench, you know, 10 resource, that inmates or detainees started to

11 they don't — they don't like that experience. 11 hoard the toilet paper?

12 Q. And you would agree with me when the | 12 A. Hence that's why we only put one

13 holding cells are overcrowded and it's dirtier 13. roll of the toilet paper in there at a time,

14 than normal, there are situations where people | 14 because they're going to hoard the toilet paper,

15 are sitting or laying on the dirty floors? 15 scarcity.

16 A. | wouldn't just equate that to 16 Q. So if everyone had a roll, then

17 overcrowding. | would say that throughout the 17 you're going to have more of a problem than if
18 day even if you have -- the floors are -- the 18 there's only one roll for 20 inmates?

19 floors get dirty until we clean them. 19 A. No, that's — no.

20 Q. And, in fact, you know, because you 20 Q. Sol guess I'm not understanding why
21 have a toilet area in the main area, that as 21 it was that toilet paper be -- you know, was

22 urine ends up on the floor, people walk around, | 22 reduced to one roll when inmates were hoarding
23 that's tracked throughout the cell, correct? 23 it?

24 MR. COLLINGS: 24 A. Yeah, it was reduced. It was one

25 Object to the form. 25 roll. And if they asked for toilet paper, they

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1 THE WITNESS: 1 got more toilet paper.

2 | don't know that to be true, and | 2 Q. Did you ever hear of situations,

3 don't know it not to be true. 3 though, where the guards would delay providing

4 BY MR. JACOB: 4 things that were requested?

5 Q. Okay. And that's the same floor 5 A. Yeah. I've actually, as the warden,

6 that people would -- you've seen them sit, you've | 6 gotten grievances and things of that nature in

7 have seen them lie on, correct? 7 reference to those things.

8 A. Yes. 8 Q. And that that occurred back in the

9 Q. Allright. And that's the same 9 holding cell areas, too?

10 place where detainees are eating their meals, 10 A. Yes.

11. correct? 11 Q. And that that occurred in that 2019

12 A. Noton the floor. They would sit on 12 year, too?

13 the bench and eat their meals for the most part. 13 A. Ididn't see any grievances in 2019.

14 Q. Even when it was overcrowded? 14 | didn't - | didn't handle the grievance process

15 A. They wouldn't sit on the floor, and 15 at that time.

16 they wouldn't eat off the floor. 16 Q. But you knew that this was something

17 Q. Ididn't say, “eat off the floor." 17 that had been complained about by other detainees
18 I said, you know, you've seen inmates sitting on | 18 in other years, correct?

19 the floor eating? 19 A. Yes.

20 A. Yes. 20 Q. And what -- what was done about

21 Q. Allright. And that's the same 21 that?

22. dirty floor that is dirty until it’s cleaned, 22 A. It was corrected. If we gota

23 correct? 23 grievance, you investigated it. You gave the

24 A. Yes. 24 inmate a formal answer on his grievance. And if

25 Q. All right. How about toilet paper? 25 he agreed with it, it was over there. Or agreed
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1 with the action that was taken, it was over 1 in each individual inmate's file? So if you ever
2 there. If he didn't, he would take it to the 2 wanted to find that information, you would then
3 next step. If he agreed with the action that was 3 have to go back, or the sheriff's office would

4 taken at that step, it would stop there. He or 4 then have to go back, and review every single

5 she. They would stop there. And if he didn't 5 inmate's file for the year in question?

6 agree with it, or they didn't agree with it, it 6 A. No. We would handle that specific

7 would go to the sheriff for the sheriffs review. 7 grievance in front of you.

8 And at that time, they can file a legal claim. 8 Q. Not my question. My question,

9 Q. Do you recall any instance where it 9 again, is, if it was ever asked, "How many

10 was found in favor of the inmate that -- and 10 complaints about the treatment of detainees in a
11 against a guard, that guards had been withholding | 11 holding cell did you receive in the year 2019,"
12 items or not being kind to inmates in the holding |12 am correct you would have no way -- the

13 area? 13 sheriff's office would have no way of telling me
14 A. I've never had that specific thing 14 that information unless they took every single
15 happen, no. 15 inmate file for the year 2019 and searched it?
16 Q. Any type of incident, guard verse 16 A. lwould not have.

17 detainee treatment, that you recall back in the 17 Q. Is there any way that that

18 holding cell area? 18 information could be pulled other than taking
19 A. | did grievances for a long time, 19 every single inmate's file for the year 2019 and
20 so, yes. | couldn't pinpoint a date and a time. 20 searching it?
21 Q. Okay. Any that were founded? 21 A. No. | don't know that -- no, I do
22 A. No, not as far as the deputy doing 22 not know.
23 that. It may have been that they didn't get it 23 Q. So how was it that you, in your
24 ata specific time, but it wasn't because the 24 capacity of oversight of corrections, were

25 deputy was trying to be a — trying to be 25 actually supervising the holding cell area and

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1. difficult with them. 1 able to track whether you were having a set of

2 Q. Okay. So you recall complaints or 2 complaints about a certain issue? Did you -- did

3 grievances -- 3 you, on a daily basis, weekly basis, monthly

4 A. Right. 4 basis go through every single inmate file and

5 Q. -- about this issue, but you don't 5 search for this issue, or it just wasn’t done?

6 recall a single instance where it was founded? 6 A. As far as knowing of the complaint,

7 A. As far as what you're specifically 7 that would be -- because | said, as the warden, |

8 stating, no. 8 handled the grievances. As the deputy chief, |

9 Q. Okay. Are those complaints about 9 handled the second step of the grievance. So as

10 treatment in the holding cells logged anywhere? 410 the warden, | would see those complaints. As a

11 A. They would be on the grievance form 11 deputy chief, | would see those complaints if it

12 in the inmate's file. 12 made it to my level, and | had to answer the

13 Q. But was there anywhere that the jail 13 second step, so --

14 kept arecord so you could just search an 14 Q. But if by 2023, let's say, I'm

15 employee on whether there has been any complaints | 15 asking for how many complaints about overcrowding
16 about them with respect to treatment in holding 16 did you have from detainees for the years 2000,

17 cells? 17 2001, 2002, and 2003, you would have absolutely

18 A. No. 18 no idea what to tell me unless you went through

19 Q. Was there any system where you could 19 all the inmate files for that time, correct?

20 easily search or refer to to see how many 20 A. | would not.

21 complaints have we had about treatment in the 21 Q. Andso you would not know whether a

22 holding cells? 22 pattern was starting to emerge about a single

23 A. No. 23 type of complaint during those years, correct?

24 Q. And is that because the way that the 24 A. No, | would not.

25 recordkeeping was kept or the data was kept was 25 Q. Okay. And so was that evera

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1 concern to the sheriff or to you that, "Hey, the 1 data was kept, though, you wouldn't see that

2 way we're keeping our data, we have no ability to 2 pattern forming, would you?

3 see a pattern emerging about any problem that may| 3 A. Not as the deputy chief.

4 be -- may exist in the holding cell area"? 4 Q. As anybody? With the way the data

5 A. So when | was the warden and as the 5 was maintained, you wouldn't see that pattern

6 deputy chief, if it got to my level, it was 6 emerging, would you?

7 investigated. So, no, | wouldn't be able to go 7 A. As far as the data is maintained,

8 through every single file. But if that complaint 8 no, | would not be able to go back to the data

9 in front of me and that guy says -- or if | know 9 and say, "This is a pattern."

10 that it happened or that guy says, "This has 10 Q. So that pattern would essentially go

11 happened to me multiple times," that would be 11 undiscovered?

12 investigated. But, no, | would not have a way to 12 MR. COLLINGS:

13 go back 20-some-odd years and say, "This was the 13 Object to the form.

14 pattern." 14 THE WITNESS:

15 Q. Were you trained to investigate 15 Not really. As far as the data is

16 these types of complaints? 16 concerned, | couldn't investigate and

17 A. Yes. 17 create the pattern from the data. But if

18 Q. And so you would agree with me then 18 this has been -- if that complaint comes

19 that sometimes complaints are unfounded simply | 19 in front of me and I'm investigating it

20 because there's not enough evidence to establish | 20 and that comes out in the investigation,

21 = it? 21 it's there. | don't -- you know, | don't

22 A. Sometimes, yes. 22 --

23 Q. And the fact that it's unfounded 23 BY MR. JACOB:

24 doesn't mean it didn't happen, it just means it 24 Q. But what if -- but what if the --

25 can't be proven; is that fair? 25 it's just a detainee complaining to you that that
Page 131 Page 133

4 A. Yes. 1 happened to them? You wouldn't think to go back,

2 Q. And so if it's unfounded, out of 2 “Well, let me see if the 1,000 inmates that were

3 sight, out of mind; am | correct? You dealt with 3 here previously had the same complaint"? That's

4 it, let's move on, correct? 4 not part of your investigation, correct?

5 A. Like | said, if | get a complaint, | 5 A. No.

6 deal with that complaint. And if the complaint 6 Q. But if the data was kept in a way

7 specifies that this has been an ongoing thing or 7 that you could just search, "Has this complaint

8 happened more than once, throughout the 8 ever come up about this deputy," and it listed 25

9 investigation | try to find that out. 9 unfounded incidents, you'd say, "Oh, wait a

10 Q. Okay. Would you agree with me if | 10 minute"; am I correct?

11. said, “Hey, Joe told me to eff off today," and 11 MR. COLLINGS:

12 you couldn't find it and it was unproven, you 12 Object to the form.

13 would feel comfortable with that? It was a 13 THE WITNESS:

14 single complaint, it was investigated, and it 14 If the data was there, yeah. Yes.

15 couldn't be proven, correct? 15 BY MR. JACOB:

16 A. | don't understand that | would be 16 Q. Okay. Yesterday during the

17 comfortable with that. 17 representative's deposition for the sheriff's

18 Q. Allright. Let me ask it this way 18 office, she indicated that there were times that

19 then. If you were to look at the data, pull all 19 she knew that the holding cells were over

20 the inmate files, and you suddenly realized you 20 capacity for what the fire marshal stated was

21 had 25 unfounded complaints about the same deputy | 21 safe. Are you aware of that happening?

22 for the same conduct, would that give you pause 22 A. Yes.

23 for concern even if they were all unfounded? 23 Q. And did that -- in your opinion,

24 A. Oh, absolutely. 24 does that present as a greater risk than when

25 Q. Allright. And based on how the 25 it's at or below capacity?

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4 A. So the -- you're saying the 1 understand that the fire marshal capacity numbers
2 overcrowding? 2 represent the total number of persons to be in an
3 Q. Yes. If the fire marshal said it's 3 area for it to be safe, correct?

4 safe to have 80 people back here, no more, -- 4 A. Yes.

5 A. Yes. 5 Q. Oh, okay. So then when you have 90

6 Q. --and you have 90, does that mean 6 instead of 80 when the fire marshal sets the

7 that there's an increased risk of danger to the 7 threshold as 80 for safety, would you agree with
8 detainees? 8 me then it's less safe, or it's no longer safe?

9 A. That means I'm over capacity, and | 9 A. [would not agree with you, like —-

10 need to go back down to 80. 10 Q. Okay. Why not? What is it?

11 Q. Ifthe fire marshal said it's unsafe 11 Because it's suddenly --

12 to have more than 80 inmates in these cells and | 12 A. No. I'm just saying -- oh, go

13 you have 90, does that mean that there's an 13 ahead.

14 increased risk of danger to the detainees? 14 Q. No. No. | guess I'm having trouble

15 MR. COLLINGS: 15 understanding. Because you said the fire marshal
16 Object to the form. 16 is there to determine capacity for safety, and

17 THE WITNESS: 17 the fire marshal tells me any more than 80 is

18 No. Not to the danger of the 18 unsafe. But when I have 90 in there, it's not

19 detainee. 19 less safe, is what you're telling me?

20 BY MR. JACOB: 20 MR. COLLINGS:

21 Q. So the fire marshal is wrong then? 21 Object to the form.

22 A. No. There's two different things 22 THE WITNESS:

23 you're asking me. 23 You're asking me like it -- I'm

24 Q. Really? Explain that to me. 24 getting your question --

25 A. You asked me about their safety. 25 BY MR. JACOB:

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1 Then you asked about their danger. 1 Q. Sure.

2 Q. Okay. Well, then, let's do it that 2 A. - like is it less safe to have 80

3 way. 3 or 90 in there just because you're over capacity.

4 A. Okay. 4 Q. You said -- would you agree that the

5 Q. If the fire marshal says it is 5 fire marshal is the expert in the field with

6 unsafe to have more than 80 inmates in the 6 respect to safety and buildings with respect to

7 holding cells and you have 90, is it more unsafe | 7 capacity?

8 than -- with 90 than with 80 or less? 8 MR. COLLINGS:

9 A. That means I'm over capacity. And 9 Object to the form.

10 that's what the fire marshal is there for, life 10 THE WITNESS:

11 safety issues. So if he says | got to get down 11 | would say that they're the

12 to 80, | get down to 80. 12 compliance person.

13 Q. So then, yes, itis less safe with 13. BY MR. JACOB:

14 90 than with 80 if that's what the fire marshal 14 Q. Okay. And would you agree with me

15 determined? 15 that in that capacity --

16 A. | think the fire marshal is just 16 A. I'm sorry.

17 telling mel'm over capacity, and being over 17 Q. Sure. In that capacity it is the

18 capacity is what he's there to determine. So if 18 fire marshal who determines what is safe or not
19 Ihave 80 in there versus 90, you know, that is 19 safe for a particular building with respect to

20 I'm over capacity. 20 capacity?

21 Q. So are you saying that when you 21 A. Yes.

22 operate the jail, you didn't understand that 22 Q. And would you agree with me, then,

23 capacity numbers are set for safety? 23 if you do not follow the fire marshal's decision
24 A. No, that's not what I'm saying. 24 with respect to what is safe or not safe, that if

25 Q. Oh, okay. So then you did 25 you exceed the number, then you are now in unsafe
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1 territory? 1 Q. Okay. And if those detainees had
2 A. Yes. 2 been removed from the holding and assigned those
3 Q. Okay. What penological interest is 3 empty beds in DOC or federal, they could have had
4 served by not providing recreation for pretrial 4 that recreation, correct?
5 detainees in the holding cells? 5 A. They could have, yes.
6 A. None. 6 Q. And they could have had a bed,
7 Q. Why didn't that occur then? 7 correct?
8 A. As far as exercise for people in 8 A. Yes.
9 holding? 9 Q. And they could have had lights out,
10 Q. Yes. 10 correct?
11 A. Because one is constant movement of 11 A. Yes.
12 the people in holding, so -- and they're there 12 Q. And they could have had a clean
13 awaiting a bed to go to a housing unit. We 13 floor, correct?
14 didn't exercise the people in the holding cells. 14 A. I don't know. Like —-
15 Q. Butam | correct, it was your 15 Q. Cleaner floor. How about that?
16 understanding that the state regulations require | 16 A. | don't know that.
17 no longer than 48 hours in the holding cell, so 17 Q. Would they have eaten in their cells
18 once you're exceeding that, you're also leaving a | 18 in -- back in DOC or fed?
19 person ina situation where they had no fresh air | 19 A. That's -- so they ate in their
20 and no exercise and that type of activity in the 20 housing unit. Some of them are in cells. So |
21 holding cell area? 21. don't want to be so -- | don't want to -- | don't
22 A. Yes, they did not have that 22 want to answer a question where -- yeah, some of
23 activity. 23 them eatin their cells. But | don't think
24 Q. And do you know if there's a 24 that's -- you know — | got people that have
25 regulation with respect to whether or not 25 single-man cells. They're in isolation. They
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1 detainees are to have access to recreation or 1 eatin their cells.
2 fresh air? 2 Q. Okay. | didn’t understand that.
3 A. Yes. 3 Thank you.
4 Q. And what's that regulation? 4 A. Okay.
5 A. Itis - 1 don't know the specific 5 Q. Absent the special housing, then,
6 number of the regulations. 6 administrative custody or whatever you called it
7 Q. Right. 7 onthe general pop side, the general population,
8 A. But they're to get three hours out a 8 though, as a whole, do they eat in their cells,
9 week, weather permitting, and if it's safe to 9 ordo they eatin a dining area? How does that
10 bring them out. 10 work?
11 Q. Okay. And that was something that 11 A. Some of them eat in their cells.
12 was not occurring with inmates in the pretrial --| 12 Some of them eat in the housing unit at the
13 or excuse me -- the pretrial detainees in the 13 tables. We didn't have a dining area that we
14 holding cells, correct? 14 brought inmates to.
15 A. That was not happening with the 15 Q. And were the cells in the general
16 pretrial detainees in holding. 16 population maintained from a cleaning perspective
17 Q. And there was no penological 17 differently than the holding cells?
18 interest that you could think of for that 18 A. They had a scheduled cleaning. They
19 restriction, correct? 19 had acleaning schedule just like the holding
20 A. The movement of those inmates in 20 cell.
21 holding. Because they do bond out and they do — | 21 Q. Okay. The general population, was
22 the movement would be a concern of mine. 22 that ever overcrowded?
23 Q. Okay. 23 A. No.
24 A. But it was no policy, procedure, or 24 Q. Did anyone ever have to sleep on the
25 anything like that to say do or don't. 25 floors in general population?

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1 A. No, not in that -- no. 1 time to come into compliance with what they just
2 Q. What action did you take to stop the 2 wrote you up for.
3 overcrowding situation that you were aware of in| 3 Q. Right.
4 2019? 4 A. So the bottom line is if -- if it
5 A. What action did | take? 5 doesn't get relieved, that first write-up gets
6 Q. Yes. 6 heavier the next time.
7 A. The only action, | would go to the 7 Q. Right. And! understand that. And
8 commissioner, or | would go to the judge, explain 8 you clearly took your job seriously and wanted to
9 what our problem was with overcrowding, and that 9 always comply with, you know, health, safety, and
10 was as far as | could bring it. 10 all of that, correct? You wanted to do the right
11 Q. And was that documented anywhere? | 11 thing?
12 A. No. 12 A. Yes.
13 Q. Did you ever get frustrated with the 13 Q. AndIcan tell that from talking
14 answers that were provided? 14 with you today that there's this push-pull, this
15 A. Yes. 15 frustration, that | always wanted to do the right
16 Q. And why is it that you got 16 thing, but that doesn't mean | was always able
17 frustrated with that? 17 to?
18 A. Because sometimes you would go back 18 MR. COLLINGS:
19 to the jail, and it's still overcrowded. 19 Object to the form.
20 Q. But why did that frustrate you? 20 BY MR. JACOB:
21 A. | just think because it's if you 21 Q. Is that fair?
22 know that it's overcrowded, you got people in 22 A. I did not have the authority or just
23 there, they've been there a long period of time, 23 that | was not able to.

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24 seven, 14 days, and you know you don't have any | 24 Q. Allright. And I did hear you say,
25 beds. And you go to the commissioner or the 25 abit of humanity crept out there, that you
Page 143 Page 145

1 judge, and they say, "We can't do anything,” or 1 didn't think anybody should have to live like

2 sometimes they alleviate it, you know, so -- 2 that, correct?

3 Q. Did it frustrate you because you 3 A. I'mahuman person.

4 didn't think that detainees should have to live | 4 Q. So attimes you just thought it was

5 like that for that period of time? 5 just wrong as far as how the detainees were

6 A. | don't think nobody should. Not 6 living, and that's why you were doing your best
7 just detainees. 7 to do whatever you could to try to stop it,

8 Q. Okay. And that's because it's a 8 correct?

9 little bit inhumane, correct? 9 MR. COLLINGS:

10 MR. COLLINGS: 10 Object to the form.

11 Object to the form. 11 THE WITNESS:

12 THE WITNESS: q2 Yes.

13 | wouldn't say inhumane. 13 BY MR. JACOB:

14 BY MR. JACOB: 14 Q. All right.

15 Q. Allright. Well, what would you 15 MR. JACOB:

16 callit? Why is it that you didn't think anyone | 16 I'm going to take a moment and speak

17 should have to live like that for that period of | 17 to my counsel and then --

18 time? 18 MR. COLLINGS:

19 A. That's me. That's what | think. 19 Yeah, let's take a break.

20 Like, when -- when | go to the commissioner or | 20 MR. JACOB:

21. the judge and | ask for relief for the 21 Yeah, it's a good time.

22 overcrowding, you know, sometimes it was in 22 (Brief recess was taken.)

23 reference to a health -- a health officer or a 23 MR. COLLINGS:

24 fire marshal. "I need relief, or we're going to 24 | just want to make a note. |

25 be in violation," because they only give so much | 25 neglected to mention it at the beginning
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1 ofthe deposition. The same objection | 1 Fair enough.

2 had yesterday with respect to a video 2 MS. HARTON:

3 camera. | don't know that it's 3 And, just for the record, you're

4 permissible for an attorney to videotape 4 only objecting to my line of questioning,

5 their own deposition. And to the extent 5 not the entire deposition?

6 this video may ultimately try -- may be -- 6 MR. COLLINGS:

7 there may be an effort to use the video at 7 I'm objecting to the entire line of

8 trial, we would note our objection to its 8 questioning with respect to the video.

9 use to the extent that that may be 9 And I'm objecting to a line of questioning

10 something that happens at some point in 10 from you as co-counsel for the plaintiffs.

11. the future. 11 | assume you are co-counsel for the

12 With that objection on the record, | 12 plaintiffs, right?

13 tender the witness back. 13 MS. HARTON:

14 MR. JACOB: 14 (Nods head affirmatively.)

15 And I'll just state on the record, 15 MR. COLLINGS:

16 since we're doing this, that as far as a 16 Okay. That's it. With that said,

17 primary means of recording, | would agree 17 go ahead.

18 with you, that the primary means of 18 MS. HARTON:

19 recording is the certified court reporter. 19 Thank you.

20 This is an alternative means as properly 20 EXAMINATION BY MS. HARTON:

21 noticed in the notice and indicated in the 21 Q. So my name is Sam Harton. | am --|
22 notice. So it is what it is. 22 represent the same party as my colleague here
23 My colleague who's working with me 23 that just asked you a few questions. I just have
24 has a couple questions that she's going to 24 afew questions that | would like to ask you.

25 ask and then we're -- and then we're done. 25 But, first, | just want to make

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1 MR. COLLINGS: 1 sure, you understand that you're still under

2 Okay. Well, I'm going to note an 2 oath? Even though I'm a different human being,

3 objection that it's highly unusual, and 3 we're representing the same party, and you're

4 I'm not entirely certain it's even 4 still under oath?

5 permissible to have multiple attorneys for 5 A. Yes.

6 the same parties ask questions of the same 6 Q. Okay. So do you remember earlier

7 witness during a deposition. So I'll note 7 when my colleague was asking you about risks

8 my continuing objection to this line of 8 related to overcrowding?

9 questioning. 9 A. Yes.

10 MR. JACOB: 10 Q. Okay. And do you recall stating

11 And, just for completeness, can you 11 that there's always some sort of risk when two
12 cite a federal rule that restricts that? 12 inmates are together?

13 MR. COLLINGS: 13 A. There's a risk in a jail, period.

14 No. In 26 years or so practicing 14 Q. There's always a risk when you're in
15 law, | don't think I've ever seen it done, 15 ajail?

16 so it's never been something | had to 16 A. Yeah.

17 research. It's very unusual. And maybe 17 Q. Okay. And what's your understanding
18 itis permissible. | don't know. But if 18 of what the word "risk" means?

19 the line of questioning is ultimately 19 A. There's a risk of harming yourself

20 something that is sought to be introduced 20 orarisk of safety violations or a risk of a

21 at trial, we will certainly look into 21 whole magnitude of things in a jail.

22 that. And if there is a grounds to object 22 Q. Okay.

23 or if we need to file something with the 23 A. And maybe one person that wants to

24 magistrate between then and now, we will. 24 harm themself and commit suicide. That's a risk.
25 MR. JACOB: 25 Q. Is there a risk that an inmate might
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1 harm another person? 1 your entire career with the St. Tammany Parish
2 A. Ina jail? 2 Sheriff's Office in corrections; is that right?
3 Q. Yes. 3 A. Yes.
4 A. Yes. 4 Q. And at the end, you were over
5 Q. And so it sounds like a risk might 5 corrections in addition to some other areas of
6 besome -- any situation that involves any 6 the sheriff's office. But from year 1 to year
7 exposure to danger. Is that your understanding 7 29, corrections was within your work space, |
8 ofarisk? 8 guess?
9 A. It doesn't have to necessarily be 9 A. Yes.
10 danger. 10 Q. Allright. And you left the
11 Q. Okay. 11. sheriff's office in 2019, correct?
{2 A. Butit can be a person trying to 12 A. October 2019, yes.
13 escape, you know. It could be a multitude of 13 Q. Let me start it this way. Do you
14 things. It's not just fighting or that type of 14 have any first-hand knowledge as to anything with
15 stuff. 15 respect to any of the five individual plaintiffs
16 Q. Okay. When you say that there is a 16 inthis case?
17 risk with two inmates, though, are you referring 17 A. No.
18 tosome sort of exposure to danger? 18 Q. Did you meet them, ever talk to
19 A. It's just arisk. It could be 19 them, ever discuss anything about those five
20 danger, yes. 20 individuals?
21 Q. It could include -- it could include 21 A. Not in 2019.
22 some sort of dangerous outcome? 22 Q. Allright. Now, when you left the
23 A. Yes. 23 sheriff's office in 2019, was the jail as good as
24 Q. Okay. So you also said that there 24 it had been at any time in the 29 years that you
25 are risks associated when you have overcrowding, | 25 worked there?
Page 151 Page 153
1 for example, more than 20 people in a holding 4 A. Yes.
2 cell; is that correct? 2 Q. Allright. And in your time as a --
3 A. Yes. 3 from a -- just a corrections officer all the way
4 Q. Okay. And is one of those risks 4 up until the point where you were the warden and
5 exposure to some sort of dangerous outcome? 5 then the deputy chief over corrections, would you
6 A. Yes. 6 agree with me that the movement of detainees from
t Q. Okay. And would a dangerous outcome 7 holding to the back of the jail required
8 include something like someone getting sick? 8 resources?
9 A. Possibly, yes. g A. Yes.
10 Q. Okay. So when you are considering 10 Q. Did those resources include
11 how to address overcrowding, you are considering | 11 availability of a bed in the back of the jail?
12 how to perhaps mitigate that exposure to danger; | 12 A. Yes.
13 is that correct? 13 Q. And did it require the availability
14 A. Yes. 14 of human resources to be able to process them and
15 Q. Okay. 15 move them to the back of the jail?
16 MS. HARTON: 16 A. Yes.
17 That's all | have. 17 Q. And in the year 2019, in particular,
18 MR. COLLINGS: 18 your last year as an employee of the sheriff's
19 So do y'all tender? 19 office, were your resources scarce at times?
20 MR. JACOB: 20 MR. JACOB:
21 (Nods head affirmatively.) 21 Objection.
22 MR. COLLINGS: 22 BY MR. COLLINGS:
23 Okay. 23 Q. Answer the question, please.
24 EXAMINATION BY MR. COLLINGS: 24 A. Yes.
25 Q. Mr. Longino, you spent the entire -- 25 Q. And did that scarcity of resources,
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1 in fact, hinder the ability to move inmates or 1 Q. Correct.

2 detainees from holding to the back of the jail as 2 A. - and when they become a DOC

3 timely as you might have otherwise liked? 3 inmate, do they get moved from here to there

4 MR. JACOB: 4 immediately? No. It depends on the resources to
5 Objection. 5 move that person.

6 THE WITNESS: 6 Q. But they're put in line for the

e Yes. 7 movement, and as soon as it's available, they

8 BY MR. COLLINGS: 8 move them?

9 Q. Was there ever an intent from the 9 A. Yes.

10 sheriff's office, to your knowledge, to keep 10 Q. Okay. But as you sit here today,

11 people in holding for a punitive reason? 11. you don't recall a situation where it took longer
12 A. No. 12 than a day to make that movement?

13 Q. All right. 13 A. I'm pretty sure there are some

14 MR. COLLINGS: 14 instances where it took longer than a day. |

15 That's all | have. Thank you, sir. 15 can't specifically say it took two days, three

16 MR. JACOB: 16 days, four days, or an hour.

17 Just one follow-up question. 17 Q. Isee.

18 REEXAMINATION BY MR. JACOB: 18 A. | can't.

19 Q. Did resources or the issue of 19 Q. But if there was such a delay, then
20 resources ever stop the movement of an inmate who | 20 that would be documented somewhere, correct?
21 is reclassified from going from a pretrial 21 A. No.

22 detainee bed to a DOC bed? 22 Q. Why not?

23 A. Yes. 23 A. Because -- so I'm a pretrial inmate

24 Q. Explain that. 24 today.

25 A. It's the same staff. If | don't 25 Q. Okay.

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1 have one to move a DOC to the back or a pretrial 1 A. | go to court.

2 to the back, | don't have one to move a DOC from 2 Q. Right.

3 the back — or from holding to the back as well. 3 A. | get back at 7 o'clock tonight from

4 Q. So what you're -- what I'm hearing 4 court. The van drops me off. I'm now a DOC

5 you say then is that when you hada--when you | 5 inmate.

6 had an inmate switch from the pretrial detainee 6 Q. Okay.

7 status as a parish detainee and fall under the 7 A. Allright? So -- and it may be

8 DOC contract, you recall situations where that 8 multiple people that need to be moved from a

9 DOC inmate remained in the pretrial bed? 9 pretrial bed to a DOC bed. We don't - it's not

10 A. They did not - they may have not 10 justone. So those people will be moved as soon

11 have gotten moved immediately. 11 as the staffing resources are available.

12 Q. Oh,I see. Immediately. So it may 12 Q. Okay. But in that situation where

13 have been an hour or two to move them, correct? | 13 you have a pretrial detainee who's been

14 A. It could have been the next day. 14 reclassified to DOC because of a change in status
15 Q. Allright. But nothing more than 15 in court, they are going to get moved to a DOC
16 24 hours, correct? 16 bed; is that correct?

17 A. Oh, sometimes, yes. Av A. They're going to get moved to a DOC

18 Q. Okay. How long is the longest time 18 bed, and the person in holding is going to go to

19 that you recall a DOC inmate occupying a parish |19 a pretrial bed.

20 bed? 20 Q. And that is definitely going to

21 A. | don't recall. | don't have a 21 happen, correct?

22 specific time frame. 22 A. It may not happen immediately, but

23 Q. Do you recall it ever happening? 23. it's going to happen.

24 A. Yeah. A pretrial becomes a DOC 24 Q. The resources are there for it to

25 inmate, is basically what you're asking me, -- 25 happen ina -- let's just say a reasonable amount

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1 oftime? As soon as possible? 1A. Yes.
2 A. As soon as possible. 2 MR. JACOB:
3 Q. Okay. But the situation that's 3 All right. No further questions.
4 never going to happen is a pretrial parish 4 MR. COLLINGS:
5 detainee going from holding to a DOC bed unless| 5 That's all | had for you, Greg.
6 their status changed to DOC; is that correct? 6 Thank you.
7 A. | can't say that. | can't say that 7 MR. JACOB:
8 because | don't know if that's a never thing that 8 Thank you. You're free. |
9 will happen. 9 (Whereupon the proceedings were
10 Q. Fair enough. It never happened 10 concluded at 12:11 p.m.)
11 while you were there? 11
12 A. Not that I'm aware of. 12
13 Q. Okay. Because it was not permitted, 13
14 correct? 14
15 A. Yeah, that was not permitted. They 15
16 would not -- well, | did not mix and mingle 16
17 inmates. 17
18 Q. And it wasn't a lack of manpower 18
19 that you didn't move that pretrial detainee into 19
20 aDOC ora federal bed? It was because the 20
21 policy and practice was they are not allowedto | 21
22 occupy those beds, correct? 22
23 MR. COLLINGS: 23
24 Object to the form. 24
25 THE WITNESS: 25
Page 159 Page 161
1 | don't understand that question. = WETNESS" ‘CERTERICATE
2 BY MR. JACOB: =
3 Q. Yes. It wasn’t because you didn't 3
4 have the manpower to move them from the holding | * Ty, GREGORY: CHARLES “LONGING, ‘a5 hereby
5 cellasa pre- -- asa parish detainee into a 5 certify that the foregoing testimony waa given by
6 federal bed? It was that they weren't permitted 6 me, and the transcription of said testimony, with
7 to go into a federal bed? 7 corrections and/or changes, if any, is true and
8 A. That's correct. a correct as given by me on the aforementioned
9 Q. Allright. And it wasn't that -- it 9 Gate.
10 wasn't the lack of beds that prevented the parish | *°
11 detainee from moving from holding into a federal | **
12 bed? It was that they weren't permitted to? #8
13 A. No. It was a lack of pretrial beds. 8
14 Not federal beds. Because we had a federal ee ee ee eae
15 contract to house the federal inmates, and we a5
16 left those bed spaces available for the federal 26
17 inmates. ay
18 Q. Allright. So it wasn't a resource a a
19 issue that prevented the parish detainees from a8
20 occupying DOC or federal beds? It was apolicy | ° Stoned with nb corrections es: zoved.
21 issue, correct? ah
22 A. It's not policy. 22
23 Q. Ora practice issue, correct? 23
24 A. Yes. 24 DATE TAKEN: January 18, 2023
25 Q. "Yes"? 25
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